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                      UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                                 Chapter 11

 Stream TV Networks, Inc., (Stream)                     Bky. No. 23-10763 (MDC)

                Debtor.

 In re:                                                 Chapter 11

 Technovative Media, Inc., (Technovative)               Bky. No. 23-10764 (MDC)

                Debtor.                                 (Jointly Administered)

DECLARATION OF STEPHEN BLUMENTHAL IN SUPPORT OF REMBRANDT 3D
  HOLDING LTD.’S OBJECTION TO MOTION OF WILLIAM A. HOMONY IN HIS
 CAPACITY AS CHAPTER 11 TRUSTEE FOR (I) AN ORDER (A) APPROVING THE
 BIDDING PROCEDURES AND FORM OF ASSET PURCHASE AGREEMENT FOR
 THE SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS INCLUDING
 APPROVAL OF PROVISIONS FOR DESIGNATION OF A STALKING HORSE, (B)
ESTABLISHING THE NOTICE PROCEDURES AND APPROVING THE FORM AND
     MANNER OF NOTICE THEREOF AND SCHEDULING AN AUCTION, (C)
   APPROVING PROCEDURES FOR THE ASSUMPTION AND ASSIGNMENT OF
      CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES, (D)
SCHEDULING A SALE HEARING, (E) GRANTING EXPEDITED CONSIDERATION
PURSUANT TO LOCAL RULE OF BANKRUPTCY PROCEDURE 5070-1(g); AND (F)
 GRANTING RELATED RELIEF, AND (II) AN ORDER (A) APPROVING THE SALE
    OF THE DEBTORS’ ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
ENCUMBRANCES, AND OTHER INTERESTS, (B) APPROVING THE ASSUMPTION
 AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
     LEASES RELATED THERETO, AND (C) GRANTING RELATED RELIEF

          1.   My name is Stephen Blumenthal. I am the Managing Director of Rembrandt 3D

Holding Ltd. (“Rembrandt”) a Nevis corporation.

          2.   The following facts are within my personal knowledge, except as noted, and are

true and correct. I file this Declaration under 28 U.S.C. § 1746.

The Plaintiff And Its Technology

          3.   I am the sole shareholder and Managing Director of Rembrandt.
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       4.       Rembrandt holds title to the intellectual property developed by me and my former

company 3DFusion Corp.

       5.       I am also the majority shareholder, President and CEO of Rembrandt 3D Corp.

(“Rembrandt – Delaware”), a Delaware corporation.

       6.       Rembrandt – Delaware is an operating company selling glasses free 3D displays

and content solutions but is not a party to this action.

       7.       Plaintiff Rembrandt 3D Holding Ltd. (“Rembrandt” or “Plaintiff”) is the

successor-in-interest to 3DFusion Corp. (“3DFusion”), the original owner of the improved

Philip’s 3DASD technology (or glasses-free 3D autostereoscopic display technology).

       8.       I was a co-founder of 3DFusion Corp. (“3DFusion”), the original owner of the

improved Philip’s 3DASD technology (or glasses-free 3D autostereoscopic display technology).

       9.       In February 2016, I acquired all of the assets of 3DFusion and assigned all of

3DFusion’s assets to Rembrandt.

       10.      I own 100% of the outstanding shares of Rembrandt and I am the manager/CEO

of Rembrandt.

       11.      My work with glasses free 3D technology goes back many decades and I founded

3DFusion, Rembrandt, and Rembrandt-Delaware to pursue the technology.

       12.      In 2005, Philips offered a Glasses-Free three-dimensional (3D) autostereoscopic

display (“3DASD”) solution known as the WOWvx Platform for converting and generating 3D

content from two-dimensional (2D) media content for rendering on Philips’s 3DASD monitors.

The WOWvx Platform uses mathematical algorithms to add depth and stereoscopic information

to 2D content (i.e., 2D+Depth) thereby creating 3DASD content.




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       13.     Philips’s 3DASD solution suffered from significant image quality issues because

the 3DASD content generated by the WOWvx Platform contained numerous artifacts such as

ghosting and required weeks of manual post-processing to correct. Nonetheless, 3DFusion

licensed the WOWvx Platform from Philips.

       14.     From 2007 to 2009 working with Philips licensed tools, through extensive

experimentation and research comprising more than 3,000 hours of 2D-to-3D-depth-map

rotoscoping, I developed a novel and non-obvious methodology to correct the image quality

issues or artifacts in the 3DASD content generated by the Philips's WOWvx Platform. I termed

this advancement the ‘adjustability solution.

       15.     In January 2010, 3DFusion and I started contracting and working with a team of

engineers in Eindhoven, (the "Eindhoven Team") and registered a dutch B.V. with the Dutch

Chamber of Commerce named, 3DFusionEU B.V. a wholly owned Dutch subsidiary of

3DFusion. The Eindhoven team all agreed to work with 3DFusion to develop 3DFusion’s

technology under a confidentiality agreement.

       16.     3DFusionEU started working with The Eindhoven Team for the purpose of

eveloping and building my adjustability solution into their 2D+Depth 3DASD.

       17.     The Eindhoven team included Walther Roelen ("Roelen") a former 3DSolutions

3DTV lens designer, who was the Eindhoven team leader and the salaried 3DFusionEU, B.V.

General Director, and Dr. Bart Barenbrug ("Barenbrug") a former 3DSolutions senior software

engineer, who spent 14 months working with me on 30 client 3DASD projects, communicating

with me on a daily basis. Both Roelen and Dr. Barenbrug are Dutch residents.




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       18.    For convenience sake, the Dutch subsidiary was named "C3D" prior to its

corporate formation. The name "C3D" was later changed to "3DFusion EU" as indicated in an

email dated March 15, 2010 from Roelen.

       19.    In December 2009, I went to Eindhoven, Netherlands to demonstrate my

adjustability solution to Roelen. Roelen contacted the former Philips 3DSolutions senior

engineers, which resulted in 3DFusion negotiating a license with Philips to manufacture the

Philips WOWvx platform and to upgrade the Philips products and tools. 3DFusion signed the

Philips Technology License in April of 2010.

       20.    Prior to my December 2009 demonstration of my 3DFusion's proprietary

technology to the Eindhoven Team, including Roelen and Barenbrug, all individuals, who were

also all former Philips 3DSolutions employees, all agreed to an non-disclosure agreement.

       21.    The 3DFusion technology took two of the Philips tools which they considered

‘constants’ and used them dynamically to adjust and dial in the 3D image.

       22.    Through 2010, 3DFusion and the Eindhoven Team commenced bi-weekly

teleconferences and exchanged numerous emails regarding the 3DFusion technology.

       23.    Meeting minutes were kept and describe the various technical and administrative

issues addressed by 3DFusion and Eindhoven Team.

       24.    While 3DFusion had included some of the information and improvements in its

patents, many other improvements were held as trade secrets and were disclosed and developed

under non-disclosure agreements with the Eindhoven Team and 3DFusionEU.

       25.    This technology and 3DFusion’s business plans were eventually disclosed to

Mathu Rajan, Raja Rajan, and Stream under non-disclosure agreements.




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       26.    I and 3DFusion developed trades secrets and filed for its own patents far before I

ever met any engineers from the Eindhoven Team or the Rajans.

       27.    3DFusion Corp. has since dissolved and all of its rights to intellectual property

and technology have been assigned to Rembrandt.

Meeting the Rajans and Stream

       28.    In June of 2010 I met Mathu Rajan and Raja Rajan when they came to the

3DFusion Wall Street showroom offices for a demonstration of our 3D glasses free platform.

       29.    The Rajans immediately signed NDAs to be able to review details of 3DFusion’s

technology and business plans.

       30.    At the time of this original June 9, 2010 NDA between Stream and 3D Fusion,

(now owned by Rembrandt), Stream had no technology of its own.

       31.    In June of 2010, all rights were held by 3D Fusion and therefore all improvements

to that technology made after the June 9, 2010 NDA were owned by 3D Fusion. The NDA reads:


              “2.3.3 all inventions, improvements, copyrightable works and designs, relating to
              business plans, marketing plans, technology, machines, methods, compositions,
              or products of Disclosing Party directly resulting from or relating to the
              Confidential Information and the right to market, use, license and franchise the
              Confidential Information or the ideas, concepts, methods or practices embodied
              therein shall be the exclusive property of the Disclosing Party, and the Recipient
              has no right or title thereto.”

       32.    The original Stream and 3DFusion term sheet was negotiated and signed on

September 28, 2010 by the Rajans and a copy is attached to the first amended complaint (Exhibit

1). Walther Roelen, the head of 3DFusion’s Eindhoven team, betrayed his fiduciary duty and

orchestrated the transfer of key 3DFusion assets and the Eindhoven Team to Stream TV Network

in January of 2011. This is the same Eindhoven Team that was working with Stream, then

SeeCubic.


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        33.    The original technology developed by me and 3DFusion was disclosed to Stream

and is the basis for the improvements over the old Philips technology. Rembrandt owns all the

rights to the underlying technology and business plans along with all improvements. These

advancements are fully integrated into all the Stream technology and products. Specifically,

Rembrandt has identified with particularity how all the products sold by Stream have included

Rembrandt technology and infringe Rembrandt patents.

        34.    These events and agreements were the basis for the Rembrandt lawsuit filed

against Stream, Mathu Rajan, and Raja Rajan.

Procedural Background

        35.    Plaintiff filed a complaint in the New York State Supreme Court in January 2017

against Stream TV Networks, Inc, Mathu Rajan, and Raja Rajan.

        36.    Defendants removed the state action to the United States District Court for the

Southern District Of New York.

        37.    Rembrandt filed a first amended complaint (Attached as Exhibit 1).

        38.    Rembrandt, Stream, Mathu Rajan, and Raja Rajan reached an initial Settlement

Term Sheet executed by Shadron Stastney (executing on behalf of Stream) on April 9, 2019

(Attached as Exhibit 2).

        39.    Despite having full knowledge of Rembrandt’s intellectual property rights and the

trade secret claims, neither Shadron Stastney nor SeeCubic ever provided Rembrandt with any

notice of the Omnibus Agreement or SeeCubic’s attempts to transfer Rembrandt’s technology to

its control.

        40.    Rembrandt was put on notice of Stream’s Chapter 11 bankruptcy proceeding, and

through its counsel, Rembrandt sent an email to Stream’s bankruptcy counsel (Attached as



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Exhibit 3), the counsel for creditors (Attached as Exhibit 4,) and the counsel for SeeCubic

(Attached as Exhibit 5) on April 20, 2021 to make sure they all knew about Rembrandt’s

ownership of the technology and to invite resolution.

       41.     The case was settled by agreement among Rembrandt, Stream, Mathu Rajan, and

Raja Rajan on May 23, 2021 (Attached as Exhibit 6).

       42.     Rembrandt also joined with other creditors to pursue an involuntary bankruptcy

petition for Stream and as part of its filings in support of the involuntary petition, Rembrandt

filed declarations by me (Attached as Exhibit 8) and Christopher Michaels (Attached as Exhibit

9).

       43.     Rembrandt has sent direct communications to counsel for both SeeCubic and

Hawk putting them on notice of Rembrandt’s rights, yet both entities continue to pursue attempts

to take Rembrandt’s technology without a license.

Mediation Conferences and the Settlement Term Sheet

       44.     At the First Mediation Conference, Plaintiff demonstrated the 3DASD technology

using the original 3DFusion equipment.

       45.     This identical equipment was featured in a news article dated January 25, 2011

published by The Flying Kite Media, a Philadelphia based online magazine (the “2011 News

Article”), wherein Stream showcased 3DFusion’s laptop and video content and passed off

3DFusion’s technology as their own while referencing a non-existent company in Fremont,

California as the source of the technology. (2011 News Article entitled “How Philly Is Leading

The Glasses-Free 3D Revolution”). The article showed my laptop and content I created while

quoting Mathu Rajan claiming to own 3DFusion’s technology.




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       46.     Stream clearly had no reasonable explanation for stating publicly that it owned

my laptop, technology, and content and the mediation and continuing settlement negotiations

proceeded in similar fashion with Rembrandt continuing to provide further evidence of its

technology without so much as a single word, email, or any other document showing any

evidence of development by Stream prior to receiving 3DFusion’s technology.

       47.     After the First Mediation Conference, and for the following six months, the

parties corresponded settlement terms via email and conducted several in-person settlement

conferences at Stream offices in Philadelphia with me, Christopher Michaels, and Neil Wallace

representing Rembrandt, and Raja Rajan representing himself, Mathu Rajan, and Stream.

       48.     The parties exchanged various proposals and Rembrandt continued to informally

share additional evidence documenting the various trade secrets and prior communications

between the Eindhoven Team and 3DFusion.

       49.     As part of these negotiations, a list of Rembrandt Trade Secrets was developed

and included as Schedule A to drafts of the settlement term sheet, specifically, the parties had

agreed that the following list of Rembrandt trade secrets were to be licensed to Stream as part of

any settlement:


               “Knowhow and trade secrets related to methodology for:

               i. efficiently converting, correcting and optimizing a 2D+Depth
               video for playback on a 3D autostereoscopic associated with the
               Philips technology

               ii. utilizing the Philips 2d Switchable Lens technology for
               refractive and diffractive lens switching for the creation of the
               'lightfield' and 3d content artefact correction.

               iii. utilizing the On Screen Display functions of Borders and
               "Liveliness."

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       50.       On January 11, 2019, more than six months after the First Mediation Conference,

Magistrate Judge Parker ordered the parties to attend a second settlement conference in person

with counsel on April 9, 2019 (the “Second Mediation Conference”). [Dkt# 67]

       51.       On April 9, 2019, the Second Mediation Conference commenced at 10 am,

attending by telephone were: Messrs. Raja Rajan and Mathu Rajan (in their individual

capacities); attending in person at the Second Mediation Conference for the Defendants were:

Mr. Shad Stastney (former CFO and former Director of Stream TV), Mr. John Wellschlager

(former counsel to Stream and the Rajans) and Mr. Neal Kronley (former counsel to Stream and

the Rajans). Attending for the Rembrandt were me (Director of Rembrandt), Mr. Christopher

Michaels (counsel to Rembrandt), and the Mr. Chi Eng (counsel to Rembrandt). The parties

negotiated the various terms in the Redlined Term Sheet through Magistrate Judge Parker.

       52.       The redlined terms sheets had been developed through multiple meetings and

email exchange of versions between Stream and Rembrandt from October 2018 to April 2019.

       53.       By late afternoon, after the parties reached mutual agreement to the various

negotiated changes to the Redlined Term Sheet, Mr. Kronley made hand-written agreed

modifications thereto; the parties, with Mr. Stastney representing Stream and I representing

Rembrandt, then indicated assent by mutually initialing the modified Redlined Term Sheet;

Magistrate Judge Parker then affixed her signature thereto (the “Settlement Term Sheet” attached

as Exhibit 2).

       54.       The Settlement Term Sheet executed by Mr. Stastney did not modify the list of

licensed trade secrets from prior drafts of the terms exchanged between counsel for the parties

with the immediate draft prior to the settlement conference having been draft by DLA Piper




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(counsel for Stream working with Mr. Stastney) and the revisions during the conference were all

made by Mr. Kronley of DLA Piper.

       55.     Eventually, Rembrandt, Stream, Mathu Rajan, and Raja Rajan fully executed a

settlement agreement on May 23, 2021 that included the same list of Rembrandt trade secrets

used in the Settlement Term Sheet.

       56.     While capably represented by DLA Piper and under review and approval of a

Magistrate Parker, Rembrandt, Stream, Mathu Rajan, Raja Rajan, and Shadron Stastney have all

approved of the list of trade secrets owned by Rembrandt and licensed to Stream.

       57.     Every TV sold by Stream incorporated the enumerated know-how and trade

secrets and but for the license, infringed the patents referenced in the term sheet, so this

settlement was and is essential for Stream (or any assignee or successor) to continue selling

product free of infringement allegations.

       58.     Stream agreed to pay Rembrandt $5,840,000 in cash, 2,000,000 warrants to

purchase Stream stock, 100 4K TVs for no charge, 8 8K prototypes at no charge, and the right to

purchase 3,015,000 8K 3DASD LCD units at cost.

       59.     Rembrandt-Delaware previously purchased a Stream TV for $5,250, so it is

estimated the value of the no charge TVs and the 8K prototypes to be about $567,000.

       60.     Mr. Stastney during various settlement meetings that the Stream margins would

be about $400/unit during early commercial scale production and then drop to as low as

$120/unit during very high volume production in later years

       61.     Based on Shadron Stastney’s statements during mediation, the ability to purchase

3,015,000 units at cost was worth approximately $400/unit x 3,015,000 units = $1,206,000,000

at the high end and $120/unit x 3,015,000 units = $361,800,000 at the low end.



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       62.     In other words, the total value of the settlement agreement between Stream and

Rembrandt is far greater than all the secured and unsecured Stream creditors’ claims combined.

Summary of the Trade Secrets – Overview of the Eindhoven Team and 3DFusion

Connection

       63.     The trade secrets reflect a wide range of improvements developed by me and the

3DFusion team over the course of 14 months.

       64.     Roelen was the former Philips 3DSolutions Inc. lead 3D autostereoscopic display

(3DASD), no glasses, technology platform optical lens designer, working under my supervision

and was the acknowledged Eindhoven Team leader.

       65.     He was the General Director of and employed by the 3DFusion EU, B.V. which

was the wholly owned subsidiary of the 3DFusion, whose assets and rights were acquired by

Rembrandt.

       66.     Roelen was introduced to me in 2009 when I made an on-site presentation of my

3DASD break through advancements in Eindhoven. Upon viewing my platform, Roelen

immediately contacted the former senior management team, who had been dispersed following

the 2009 shut down of the Philips 3DSolutions 3DASD incubator.

       67.     This demonstration resulted in the 3DSolutions senior management team going to

the Philips Intellectual Property and Standards Division, (IP&S), the Philips Licensing entity and

recommending that 3DFusion be given preferential treatment and be allowed to become the first

recipient of a license to Philips portfolio of the full 800 patents related to 3DASD. 3DFusion and

Philips signed this license in May of 2010.

       68.     Based on statements from the 3DFusionEU Minutes, the 3DFusion Eindhoven

Team were required to sign NDA's for Philips IP&S on behalf of the 3DFusion EU B.V.



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       69.     In March of 2010 Ms. Van Hamm. the 3DFusionEU secretary, sent an email to

3DFusionUSA stating that she had collected all the 3DFusion NDAs from the 3DFusionEU team

members and forwarded them to Roelen. (Roelen later claimed to have lost them, but 3DFusion

had them redrafted and re-signed in October of 2010.)

       70.     As of early May 2010, 3DFusion had exclusive ownership of the key intellectual

property 2D+D solution, had hired the key technical expert Eindhoven Team responsible for

inventing and advancing the Phillips WOWvx platform, had signed the Philips 3DASD WOWvx

License, and 'owned' the first broadcast quality, no glasses 3DTV platform.

       71.     As of January 2010, Roelen started to work for 3DFusion Inc as the General

Director for the 3DFusion EU B.V. subsidiary. Roelen organized and led the Dutch team under

my direction for the purpose of reinitiating the technological development of the failed

3DSolution incubator's R&D's efforts as regards the Philips WOWvx, 2D Plus Depth (2D+D)

technology. This is the future STVN tech team and the current SeeCubic tech team, all of whom

had previously to my mentorship, failed to discover my solution, despite having the assets and

support from working for the Royal Philip's 3DSolution, half a billion-dollar incubator.

       72.     From the January start, all parties understood and agreed that the purpose of the

new entity was to integrate my discovered 2D+D solutions into their WOWvx platform.

       73.     I had previously filed a provisional patent application in 2009 to the aforesaid

developments, which resulted from my previous two years of R&D utilizing 3DFusion's licensed

3DSolutions development tools.

       74.     The 2008 Provisional Patent was converted, filed and granted by the USPTO in

2013 and expanded into three USPTO patents.




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        75.     Roelen's role as C.E.O of 3DFusion EU, B.V. is verified by his bank account

salaried payments, Dutch Corporate documents, his emails stating his C.E.O. status, his signed

NDA, and his email confirming the 30 developmental projects in which he directed the team's

activities during the 2010 12-month R&D cycle.

        76.     Roehlen was the primary individual to whom 3DFusion and the Eindhoven team

looked to for leadership, guidance and to exercise his fiduciary responsibility to protect

3dFusion's IP and trade secret discoveries. Roelen betrayed this trust and actively engaged in

sabotaging 3DFusion EU's efforts by violating his ethical, technical and fiduciary

responsibilities.

        77.     During this time, the team generated approximately 2,000 pages of emails, 1,000's

of pages of documents, and spent 1,000s of hours working on content and sharing ideas and

advancements.

        78.     As part of the discovery processing in the pending litigation that Rembrandt filed

seeking Injunctive Relief for Misappropriation Of Trade Secrets (the "Delaware Complaint") in

the United States District Court For The District Of Delaware against Technovative Media, Inc

("Technovative"), Hawk Investment Holdings Ltd. ("Hawk"), and SeeCubic, Inc.("SeeCubic"),

Rembrandt has prepared a detailed list of trade secrets that was provided to SeeCubic’s counsel

under a protective order as attorney eyes only. I have attached a list with the corresponding trade

secret number that redacts the detailed description of each secret, but does list the documentary

evidence supporting both the proof of development of the trade secret and the information

provided to at least Barenbrug while Barenbrug was working with me at my prior company

3DFusion and is attached as Exhibit 10.




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       79.     No attempt is made herein to explain all facets of each development, but rather to

provide a reasonable summary of the technology in question that was unique and proprietary to

3DFusion and now Rembrandt.

Summary of the Trade Secrets - i. efficiently converting, correcting and optimizing a

2D+Depth video for playback on a 3D autostereoscopic associated with the Philips

technology

       80.     3DFusionEU generated two technology whitepapers titled, "3D Tooling" and

"Fuser.” These two documents sat front and center of many of the content conversion,

optimization and playback operational developments which followed.

       81.     These methodologies were designed to be utilized as an auto-conversion means

for creating a seamless 2D to 3D conversion imaging. They represent key foundational

technologies which I believe are included in the design of auto A.I functions of the Ultra-D

3DTV, which when coupled with the 2D/3D switchable lens, diffractive / refractive optics gives

birth to an artifact free 3DASD image.

       82.     For context regarding the following emails, the 3DFusion team termed the general

conversion and optimizing methodologies, utilizing conversion algorithms and software tools for

coding the “adjustments” of the factor and offset into the video as the "DRT". for 'Depth Range

Tuning."

       83.     The 3DFusion team developed the DRT tools in 2010, after I visited the

Eindhoven team in 2009 and demonstrated the '3D view' from the top of the mountain

demonstrating manipulations of the depth maps and the factor and offset adjustments.




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       84.    While the specific 3DFusion DRT tool developments were developed over 2010,

they were based on the technology included in a patent application filed by me months before

meeting any of the Eindhoven team in 2009.

       85.    All of the 'Depth Range Tuning advancements within 3DFusion and then later at

Stream were made as derivative developments based on the technology developed by me and the

3DFusion team and are now incorporated into the Ultra-D technological platform.

       86.    The Eindhoven team started to refer to these adjustments as “Steve’s magic” and

in one example, Bart Barenbrug, stated that “he’s a wizard at that for sure” “in a November 10,

2010 email to other members of the 3DFusion team.

       87.    In the communications between the 3DFusion team, reference is made to the

“Blue Box,” which was the Philips 3DSolutions licensed software server for content editing,

rotoscoping and mastering all 3D content into the Philips’s 3D format.

       88.    I worked with Vasili Philomin, a senior Philips software engineer and designer-

based in Germany in 2008. Mr. Philomin was the primary developer and coder for the Blue Box

depth mapping, and rotoscoping software tool package. 3DFusion had licensed these tools in

2007 as one of 3 USA Blue Box developers, of which there were only 25 worldwide.

       89.    In the following emails, the project names refer to the 30 3DFusion commercial

projects.

       90.    The “Fuser” whitepaper was the foundation technological approach for the 2D to

3D conversion and by using the Blue Box as a test platform we were able to conceptualize a pre-

automation level of content conversion designed to evolve into a fully automated 2D/3d

conversion, in support of the WOWvx , 2D+Depth platform's application for what I believe to be

a mass market consumer 3DTV. This advancement is key to the Philips 2D+D technological



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platform as found inside the current STVN Ultra-D 3DASD and is central to its current

development.

Summary of the Trade Secrets - ii. utilizing the Philips 2d Switchable lens technology for

refractive and diffractive lens switching for the creation of the 'lightfield' and 3d content

artefact correction."

       91.     Early on in 2008 when I began my foray into the use of the Philips 2D+D

technology, I discovered the Philips 2D/3D Switchable lens paper: 7.4: Design of 2D/3D

Switchable Displays, W. L. IJzerman, S. T. de Zwart, T. Dekker. Philips Research Laboratories,

Professor Holstlaan 4, 5656AA Eindhoven, The Netherlands.

       92.     This paper denotes a variety of functions which can be developed to address a

range of 3D imaging solutions, though it would be years until the derivative applications would

become apparent through the work of the 3DFusion team. However, this paper gave birth to the

logic that the 2D/3D switchable lens could be used to neutralize depth map ghosting artifacts.

       93.     As documented in the First Amended Complaint, (Attached as Exhibit 1),

examples of meeting minutes are found referencing the 2D Switchable lens technology in

Minutes, Feb. 17, March, 10 & 24 2010, where it is stated,


               "Discussion on cost consequences for display which have 2D/3D switchable lenses
               instead non switchable lenses. Reply by HansZ that uplift cannot be made clear for the
               moment since this strongly depends on the material stack-up and optical properties of the
               LC-liquid (translates directly to price point). No news. "

               "Discussion on possible contribution of Corning Glass. Could be in the area of 2D/3D
               switchable lenses since Corning Glass might be able to coat ITO on glass lens shape.
               According to HansZ he had discussion couple of years ago in which it was concluded
               that Corning could not match specification requirements. According to StevenB, they say
               they can match now. Request to HansZ to deliver name of contact person at Corning
               Glass from old discussion to StevenB to check specification request delivered against
               current statement of Corning Glass (action HansZ). Steve has had long discussion with
               them and they are eager to get started. However, estimated time from conception to
               completion will be 18 to 24 months. According to Corning LED Backlight technology
               better than LCD, will also double life expectancy of display."



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       94.     This early exploration into the 2D3D Switchable lens (2d3dSW) application was

continued through multiple discussions and emails. These developments culminated in me

bringing Roelen to a meeting at Corning Glass of senior engineers on September 3, 2010. The

purpose of the NDA covered meeting, was to explore the technology potential of a 3DFusion /

Corning Glass joint partnership. At this 6-hour meeting were the top Corning LCD engineers and

Dr. Robert Boudreau who led the Corning team.

       95.     We entered into discussions with Dr. Boudreau, a senior Corning Glass engineer

who would later go onto fame as the Corning team leader for the development of the Gorilla

glass product now found on all cell phones. (Dr. Boudreau is currently the V.P. of R&D for

Rembrandt- Delaware)

       96.     During the meeting Roelen and the engineers covered four walls of blackboards

with mathematical notations breaking down the specs for lens optical design and other issues.

Upon exiting the Corning Glass meeting, on the drive back from Corning to Ithaca, Roelen made

the following remarks. "I got it. I know how to do it. We can use the 2D switchable to fix the

artifacts, Bart can write the code. We do don't need Corning; we can do it without them."

       97.     Roehlen later took the 3DFusion 2D switchable lens improvements to Stream.



Summary of the Trade Secrets - iii. utilizing the On Screen Display functions of Borders

and "Liveliness"

       98.     3DFusion developed adjustment capabilities that were not previously utilized by

other 3D technology.




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       99.     The following excerpts from an email from Bart Barenbrug summarizes the use of

Borders in neutralizing the window violation artefact issue found in larger 3D auto stereoscopic

screens.

               Begin forwarded message:
               From: Bart Barenbrug <bart@c3d-vr.com>
               Date: February 21, 2010 12:54:21 PM EST
               To: steve.blumenthal@3dfusionusa.com
               Cc: Grazzy <grazina@threecubes.com>
               Subject: Re: More fun and Games? 3df
               Reply-To: bart@c3d-vr.com

               "How far you can go at little expense of time is more a question for Grazzy than
               anyone else, I suppose. Since we're not animating the Bertoia, don't waste effort
               on anything except a good poppy 3D effect demonstration. In order to create
               maximum pop, we want to be able to assign depth to foreground objects that
               makes them come out of the screen (in contrast to having depth behind the
               screen).

               This has an influence on composition that you could take into account when
               determining the final camera path for this test. The thing is that to safely pull an
               object out of the screen it can't be touching the borders of the image, because
               that gives a perceptual contradiction, commonly known in the stereographic
               community as a "window violation": on the one hand, the depth we assign will
               tell the viewer that the object is in front of the display, but on the other hand, it
               does seem to disappear behind the border of the display, which suggests a depth
               which is at least as far from the viewer as that border. Such perceptual
               contradiction detracts from the depth perception (the amount of pop) and can
               become discomforting in the long run. So in the composition, try to have objects
               that stick out in the middle, but recede in depth near the edges of the image. Then
               we can really make them pop.

               Bart



               P.S. Finally (on this topic), there is the idea of automatic remastering (for
               offline): we have a preliminary solution in the Philips software, which basically
               tries to find a factor and offset which will stretch the depth values to use as much
               of the 0-255 range as possible (always filling the whole depth range of the
               signal), with as only restriction some protection against window violations
               (making sure that the depth value at the borders is never more than a certain
               value, to ensure that only objects in the center of the screen, not touching the
               borders, can really come out veryfar).

               In Red Box this is done per frame, and in Blue Box/Spacer this is done (only for
               stereo conversion) on a per shot basis. I would want to take it out of the stereo
               specific case, and make it a general tool, and also want to add protection against


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               ghosting: we should be able to analyze the sharpness of the 2D image for each
               depth level, and adjust the factor & offset for maximum effect, without
               introducing ghosting. This is more of a research topic, since we'd need to find a
               good (and cheap) way to determine sharpness, and also to find out for each
               sharpness value what the maximum depth off screen can be before it starts to
               ghost.



               Bart

       100.    The 3DFusion invention for factor and offset patented 'adjustability' that was

manifested as a functional screen image control could be operated either by the on-board A.I or

by the manual manipulations of the user.

       101.    As seen in the Ultra-D On-Screen Menu, the

trade secret development work termed 'BORDER"s, appears

on the ULTRA-D 65" 3D On Screen Display Menu. It is

both a user manual and A.I. driven automatic intervention

based on the factor depth values in the zone identified as the

Border, to accentuate the 3D objects center screen pop out

effect, as described in Bart’s email.

       102.     This multiple featured mechanism is

designed to correct window edge violations and to enhance the 3D impact of the forward "POP"

off the screen, and by limiting the factor depth range thereby contributing to the creation of an

artifact free 3D image. The borders menu provides for a depth map "factor” adjustment to be

contained within a defined zone of the screen edge. See 'Border' from the Ultra-D On-Screen

Menu




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       103.    In classical 3D

movie making depending upon

the camera angles and the

objective of the filming, a

'window of borders' was created

which literally framed the 3D

image. Its purpose was to break

the visual cues which neutralized

the 3D impact when objects touched the edge of the screen.

       104.    When you are looking at a 2D picture, you are looking at a

flat object defined by edges of the screen, the depth cues are defined by the

spatial sizes and shapes of the object in the image. Not so with 3D.

       105.    To the right is a screen shot of the Ultra-D On-Screen Menu,

showing the 'Border' menu with the four sides of the invisible 'frame'

defined by the positions 'top, bottom, left and right'. These are active Factor

adjustment locations of defined factor zones set by the position of the numerical counter as seen

in on the screen. They provide an invisible frame as seen in the window

diagram above.

       106.    When the Ultra-D Border menu is clicked in the next menu,

an adjustable Factor window opens permitting the user to set the location

of the top, bottom, left or right side of the frame area. This zone is

adjustable as needed depending upon the type of 3D content and the desired impact.




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        107.   The thin line visible in the image below is the location of the invisible factor

frame position setting, which is adjustable. This allows the user to select the factor setting,

which position the frame edge

zone as defined by the bottom

factor as shown by the faint blue

visual line running under the

man’s foot just above the bottom

edge.

        108.   These

manipulations are illustrated here for the User to make manual adjustments whereas the on board

A.I. is utilizing algorithms to achieve an automatic seamless effect for correcting window

violations.

        109.   When looking at a 3D picture, a person looks at objects floating in a space defined

by the relative position of the edges of the screen and the eyes. In terms of the depth cues, one is

looking at a 3D world through a window which the brain will automatically make the adjustment

for minor distortions due to objects disappearing from one eye view of the two views of 3D.

        110.   Poor quality 3D content creates window violations which the brain cannot correct

for which results in eye strain, dizziness and headaches. Consequently, a frame outline was used

in 3D movies to offset the distortion created when objects moved out of view.




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       111.    The Ultra-D Borders adjustment are both a user manual adjustment and an A.I.

driven automatic adjustment which is designed to minimize edge distortions operating in

conjunction with other A.I. operations stemming from the use of the diffractive / refractive optics

of the 2D switchable lens which imposes a 3D pop off the screen limiter function.

       112.    These key Ultra-D advancements allow almost any 3D content to played on the

screen without the artifacts that plague all other 3D auto stereoscopic platforms and are based on

Rembrandt technology.

       113.    This Rembrandt enabled technology goes to the heart of the commercial value for

the present technology as it allows and supports a consumer home, broadcast quality 3DTV mass

market product.

       114.    The images below are screen shots of Ultra-D 3D content. Note the top and

bottom Ad design incorporating visual edge borders where the factor is set lower than the center

image and is therefore designed to amplify the 3D forward POP off the screen of the center

objects.




       115.    These screen shots illustrate the use of the top and bottom borders as design

elements of the 3D advertisement, in so far as they are set by the factor as being screen back,

thereby amplifying the contrast of the screen forward pop off impact of the objects.




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       116.   The Stream OSD Menu for the “liveliness” adjustment is an additional 3D content

modification technique based on the manipulation of an additional algorithm which has been

remastered to apply to a 3D segment as an ongoing upgraded 3D enabling adjustment.

       117.   This is another 3D content modification technique, providing an additional 3D

image improvement. The following email from Barenbrug describes the application of the

methodology which we defined using the term: LIVELINESS on the Ultra-D On-Screen

Display, as seen below.




              From: Bart Barenbrug <bart@c3d-vr.com>
              Subject: Re: Avatar/ More/Steve
              Date: January 20, 2010 at 2:42:44 PM EST
              To: stephen blumenthal <steve.blumenthal@3dfusionusa.com>
              Cc: Grazzy <grazina@threecubes.com>

              Reply-To: bart@c3d-vr.com

              “Both of the 3d content modification techniques being
              described in the above by Barenbrug constitute applications of
              both User Manual, and AI scripted Automatic, methodologies
              for intervening with both the correction and optimization of the
              3d image.

              Begin forwarded message:

              From: Bart Barenbrug <bart@c3d-vr.com> Date: January 20,
              2010 2:42:44 PM EST

              To: stephen blumenthal <steve.blumenthal@3dfusionusa.com>
              Cc: Grazzy <grazina@threecubes.com>

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              Subject: Re: Avatar/ More/Steve Reply-To: bart@c3d-vr.com

              Hi Steve,

              As soon as I read your email, I had to run back to the other
              computer and start the download,

              The et version (short for etna), is the algorithm most like the
              approach from HD logix: several depth cues which are mixed,
              and post-processed (for temporal stabilization and depth map
              alignment). The sm version stands for slant+motion, which only
              uses a fixed slant (top of the image to the back, and the bottom
              to the front), and depth-from-motion, and then applies a
              regularization postprocessing. This one I think is the least
              effective.

              “The fw version is the algorithm that is implemented in the
              firmware (the 8" and the conversion box). It is also based on a
              slant with post-processing, but implements it differently and has
              a "liveliness" parameter which can be adjusted to tune the
              amount of deviation from the slant. I'd like to see if a
              combination of this with motion would make for a better
              conversion version.

              My favorite,

              Bart
       118.   Given that Bart's description of the S-M algorithm (FW) operation is termed

'liveliness' in 2010 and the same terms appears on the Ultra-D On-Screen Display, and that the

3DASD appears to function consistently with the operation of the s-m (FW) slant motion

software, the trade secret expressed by 3DFusion in 2010 can conclusively be stated to be the

functionality found in the Stream product now.




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II. Relative Value of the Philips and Rembrandt Technology
       119.    While negotiating the relative value of a fair settlement between Rembrandt and

Stream, both parties referenced the cost of obtaining a non-exclusive license to the underlying

Philips technology and the cash component of the license was set at a similar value.

       120.    Notably, the Philips technology was seriously flawed until I applied my technical

improvements. Rembrandt has old Philips 3D sets and can provide demonstrations of how the

Philips technology looked with and without Rembrandt’s technical improvements and the

knowhow and trade secrets licensed to Stream. Virtually any person, whether expert or casual

user, viewing the images with and without Rembrandt’s technology would agree that the

Rembrandt technology allows a comfortable, commercially viable viewing experience that was

not achieved by the Philips technology.

       121.    SeeCubic and Hawk are seeking to take Rembrandt’s technology without similar

compensation for the license. The harm to Rembrandt is simply stated as the value of the non-

exclusive license which is at a minimum, $5,840,000 in cash, 2,000,000 warrants to purchase

Stream stock, 100 4K TVs for no charge, 8 8K prototypes at no charge, and the right to purchase

3,015,000 8K 3DASD LCD units at cost.

       122.    Rembrandt-Delaware previously purchased a Stream TV for $5,250, so it is

estimated the value of the no charge TVs and the 8K prototypes to be about $567,000.

       123.    Notably, the value of the no charge units and the expected value of the at cost

units came directly from Shadron Stastney while he was CFO of Stream. Mr. Stastney during

various settlement meetings that the Stream margins would be about $400/unit during early

commercial scale production and then drop to as low as $120/unit during very high volume

production in later years



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       124.    Based on Shadron Stastney’s statements during mediation, the ability to purchase

3,015,000 units at cost was worth approximately $400/unit x 3,015,000 units = $1,206,000,000

at the high end and $120/unit x 3,015,000 units = $361,800,000 at the low end.

       125.    Plaintiff Rembrandt 3D Holding Ltd. (“Rembrandt” or “Plaintiff”) is the

successor-in-interest to 3DFusion Corp. (“3DFusion”), the original owner of the improved

Philip’s 3DASD technology (or glasses-free 3D autostereoscopic display technology).

SeeCubic and Hawk

       126.    All parties can likely agree that the collective Philips, Rembrandt, and UltraD

technology is worth many hundreds of millions of dollars.

       127.    The license from Rembrandt to Stream is not assignable to a purchaser of the

assets of Stream.

       128.    The Philips license is also not transferable in an asset sale.

       129.    Even assuming that Stream made many additional improvements in creating the

UltraD technology, UltraD is completely dependent upon the underlying Philips and Rembrandt

technology. Failing to obtain a license from Philips and Rembrandt will render the transfer of

any Stream or Technovative assets effectively worthless.

       130.    If instead of selling the assets of Stream, the trustee pursued a sale of new shares

in Stream directly, the value of the technology would be maintained and the licenses with both

Philips and Rembrandt would still be valid.

       Pursuant to 28 U.S.C. section 1746, I declare under penalty of perjury of the laws of the
United States of America that the foregoing is true and correct.

                                                      /s/ Stephen Blumenthal
Dated: November 6, 2024
                                                Stephen Blumenthal
                                                Manager – Rembrandt 3D Holding Ltd.

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Exhibit 1       First Amended Complaint and exhibits
Exhibit 2       April 9, 2019 Term Sheet initialed by Shad Stastney
Exhibit 3       Mr. Michaels email to Stream’s bankruptcy counsel on April 20, 2021
Exhibit 4       Mr. Michaels email to the counsel for creditors of Stream on April 20, 2021
Exhibit 5       Mr. Michaels email to the counsel for SeeCubic on April 20, 2021
Exhibit 6       Settlement agreement between Stream and Rembrandt-Holding on May 23, 2021
Exhibit 7       Philips license to 3D Fusion.
Exhibit 8       Declaration of Stephen Blumenthal - Reply to motion to dismiss bankruptcy
Exhibit 9       Declaration of Christopher Michaels -Reply to motion to dismiss bankruptcy
Exhibit 10      Redacted list of trade secrets with list of documentary evidence supporting the
                proof of development of the trade secret




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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                     )
 In re:                                              )     Chapter 7
                                                     )
 Stream TV Networks, Inc.                            )     Case No. 21-10848 (KBO)
                                                     )
                                                     )     Related to D.I. 22
                         Alleged Debtor              )
                                                     )

                      DECLARATION OF CHRISTOPHER MICHAELS
             IN SUPPORT OF THE OBJECTION OF THE PETITIONING CREDITORS
                       TO THE EMERGENCY MOTION TO DISMISS

     1) My name is Christopher Michaels. I am the President/CEO of Brown & Michaels, PC

          and represent Rembrandt 3D Holding Ltd. (“Rembrandt - Holding”) a Nevis

          corporation. I also represent Rembrandt 3D Corp. (“Rembrandt – Delaware”) a

          Delaware corporation and Stephen Blumenthal personally.

     2) The following facts are within my personal knowledge, except as noted, and are true

          and correct. I file this Declaration under 28 U.S.C. § 1746.

     3) I am a patent attorney with years of experience in the TV and video display industry.

     4) For many years, I was the managing attorney for our representation of Lucent and

          their patent work arising out of Bell Labs (arguably where TV was invented -

          https://www.earlytelevision.org/bell_labs.html). I have worked for a number of

          companies and inventors in the display industry. I written many patents for new types

          of displays, methods of making displays, and the materials used in those displays. I

          took on an officer role first as VP of Business Development, and then CEO of a

          client, Nupix, LLC, a novel display developer.

     5) I am familiar with typical licensing terms in numerous industries, but in particular, I

          have written and negotiated many license and development agreements in the display
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       industry. As both attorney and officer, I negotiated licenses and joint development

       agreements with Corning, eInks, Gyricon (subsidiary of Xerox), and Kent Displays.

    6) I have also worked with a number of private equity fund clients that ask me to review

       and advise them on intellectual property strategy for their portfolio companies.

    7) I am a founding member and was on the original management team of a seed stage

       venture capital/investment club fund, WEMBA 38 Investment Club LLC.

    8) While I prosecuted many patent applications over the years, my current focus is

       mostly in business consulting, technology strategy and licensing.

    9) I studied inventory and production control at Stanford Engineering before deciding to

       go to the Wharton School to earn a master’s in business administration with

       concentrations in finance and operations and information management.

    10) I still take on officer roles for a number of clients and typically serve as CEO, CFO,

       or as VP of Business Development. I only take on such roles for developing

       technology based companies.

    11) I have been involved in a number of patent enforcement actions, but I do not work

       with my clients as litigation counsel. My role is limited to strategic analysis of

       intellectual property issues and valuation of the technology.

    12) I have taken courses in mediation and recommend mediation as a dispute resolution

       practice to many of my clients.

    13) I have known Stephen Blumenthal since approximately 1990. He contacted me and

       asked me to assist to assist Rembrandt-Holding in an upcoming mediation with

       Stream TV Network, Inc. (“Stream”).

    14) While I had no part in preparing the original or first amended complaint (attached as

       Exhibit 1), I reviewed the first amended complaint, all exhibits, and the license
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       agreement between 3D Fusion and Philips (Exhibit 7) in preparation for attending the

       in person mediation. I also reviewed as much as I could regarding the Stream

       products, their patents, and their website.

    15) Of the documents useful to establishing a reasonable royalty, the Philips agreement

       (Exhibit 7) was the best example of a third party arm’s length license to serve as a

       benchmark.

    16) Philips is well known to own a large portfolio of intellectual property rights and to be

       experts in licensing that technology. Their 2019 annual report states the following:

       “Royal Philips’ total IP portfolio currently consists of 64,500 patent rights, 39,000

       trademarks, 88,500 design rights and 3,200 domain names. Philips filed 1,015 new

       patents in 2019, with a strong focus on the growth areas in health technology services

       and solutions. Philips earns substantial annual income from license fees and

       royalties. These are mostly earned on the basis of usage or fixed fees, recognized over

       the term of the contract or at a point in time.”

    17) Philips had a large portfolio of patents in the glasses free 3D market and marketed

       products under its WOWvx platform, but ultimately decided to exit the business itself

       in 2009. It was willing to license its technology and spun out a company with a

       license, Dimenco https://www.dimenco.eu/about-us.

    18) While the promise of the technology was exciting, the technology in the hands for

       Philips had a number of problems. Licensing a technology that did not work

       completely and was developed in a business unit that a well-funded patent owner

       chooses to abandon, can lead to a significantly lower valuation than licensing a

       working technology.

    19) I attended an in person settlement conference on July 18, 2018 (the “First Mediation
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       Conference”). [Dkt# 58] Raja Rajan attended the First Mediation Conference with

       Mr. Neal Kronley of DLA Piper (former counsel to Defendants). I was accompanied

       by Stephen Blumenthal, the sole director and officer of Rembrandt-Holding, and

       litigation counsel Chi Eng.

    20) At the First Mediation Conference, Mr. Blumenthal demonstrated the Rembrandt-

       Holding technology using what he identified as the original 3DFusion equipment

       share with Stream in 2010. This identical equipment looked identical to the

       equipment shown in in a news article dated January 25, 2011 published by The Flying

       Kite Media, a Philadelphia based online magazine (the “2011 News Article”),

       wherein Defendants showcased 3DFusion’s laptop and video content. (Ex. 1, 2011

       News Article entitled “how philly is leading the glasses-free 3d revolution”).

    21) Having such published photographic evidence of a defendant company claiming

       credit for the plaintiff’s technology is rare and was a compelling beginning to the

       mediation. Collectively, the Rembrandt-Holding team took the unwavering position

       that every Stream TV incorporated the Rembrandt-Holding know-how, trade secrets,

       and needed a license to the Rembrandt-Holding patents. Our primary purpose was to

       discuss a business resolution, but at times it was helpful to pull out additional

       documentation and evidence demonstrating that the technology had been developed

       by Mr. Blumenthal prior to meeting the Rajans or Stream.

    22) Eventually, negotiations progressed to the point where Stream started to take several

       actions to build good will.

    23) After a compelling showing that U.S. patent application 14/428,866 included

       technology invented by Mr. Blumenthal, Stream had its wholly owned subsidiary

       Ultra-D Coöperatief U.A. in Einhoven, Netherlands abandon the patent application.
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    24) In my experience as a patent attorney, abandoning a pending application during such

       negotiations is a rare action and the fact that Stream did so, built good will to proceed

       with settlement negotiations.

    25) Stream also provided several of their 4K TVs by sending them to various locations

       across the country for consultants to Rembrandt-Holding to evaluate at no charge

       which also paved the way for further settlement discussions.

    26) Stephen Blumenthal reports that he worked with the original Philips WOWvx

       technology and got it working. Mr. Blumenthal demonstrated the old technology and

       hardware Philips had developed and the hardware/software demonstrated by

       Rembrandt 3D Corp and the difference is remarkable. I have also seen the Stream 4K

       television unit shipped during settlement negotiations and compared it to the other 3D

       technologies demonstrated by Mr. Blumenthal.

    27) Working with the content tools and hardware that Mr. Blumenthal had developed

       with 3D Fusion, Mr. Blumenthal was able to demonstrate that he was able to create

       content optimized for a 3D display to obtain 3D effects to make images appear with

       depth inward from the face of the screen (“screen back”) and outward from the face

       of the screen (“forward pop”) on multiple displays not made by Stream. We

       measured the image effects on TVs made by companies other than Stream relative to

       the diagonal size of the display against the Stream TV provided for evaluation.

    28) Mr. Blumenthal was able to create images that provided further screen back and

       greater forward pop with other TVs but it required use of his technology to avoid

       artifacts and always looked best when Mr. Blumenthal optimized the content. In

       other words, the Philips TV technology and other manufacturer’s glasses free 3D

       displays all had issues until Mr. Blumenthal applied his technology to correct those
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       defects. However, the Stream TV was able to convert a wide variety of content and

       looked very good. Our assessment was that the Stream TV was a very good

       implementation of the Rembrandt-Holding technology that Mr. Blumenthal had

       disclosed years earlier.

    29) We compared the patent claims element by element to the Steam TV and it was clear

       that use of the Stream TV infringed the Rembrandt-Holding patents.

    30) From a strategic and valuation perspective, it was clear that: 1) Rembrandt-Holding

       and Rembrandt-Delaware did not require access to the Stream TV or UltraD

       technology to provide excellent quality 3D displays; and 2) Stream made a very good

       product that was a good enough implementation of the Rembrandt-Holding

       technology for many circumstances. In other words, Stream needed a license from

       Rembrandt-Holding to sell any product, but Rembrandt-Holding and Rembrandt-

       Delaware were not dependent on Stream. However, Stream’s product was impressive

       enough that it made sense to work a purchase of future products into a settlement.

       These strategic considerations drove the mediation and negotiation process.

    31) I recommended that Rembrandt-Holding negotiate for some cash, but that a right to

       purchase product on favorable terms would provide excellent value to Rembrandt-

       Holding because Rembrandt-Holding and Rembrandt-Delaware could include them in

       their products.

    32) For the following six months, the parties corresponded settlement terms via email and

       conducted several in-person settlement conferences at Stream offices in Philadelphia

       with Mr. Blumenthal and me representing the Rembrandt-Holding, and Raja Rajan

       representing the Defendants. The parties did not resolve their differences.

    33) On January 11, 2019, Magistrate Judge Parker ordered the parties to attend a second
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       settlement conference in person with counsel on April 9, 2019 (the “Second

       Mediation Conference”). [Dkt# 67]

    34) At the Second Mediation Conference, Stream was represented by its Chief Financial

       Officer, Shad Stastney, and its counsel Neil Kronley and John Wellschlager.

    35) During the Second Mediation Conference, the parties reached the terms of an

       agreement and a term sheet was prepared by Stream’s counsel that was initialed by

       Shad Stastney, Stephen Blumenthal, and Magistrate Parker and I have attached a copy

       of this term sheet initialed by Shad Stastney as Exhibit 2.

    36) This term sheet provided for Stream to license Rembrandt-Holding’s:

           a. “Knowhow and trade secrets related to methodology for:

                   i. efficiently converting, correcting and optimizing a 2D+Depth video

                      for playback on a 3D autostereoscopic associated with the Philips

                      technology

                  ii. utilizing the Philips 2d Switchable Lens technology for refractive and

                      detractive lens switching for the creation of the 'lightfield' and 3d

                      content artefact correction.

                  iii. utilizing the On Screen Display functions of Borders and "Liveliness."

           b. Trademarks

           c. the patents asserted in Rembrandt's First Amended Complaint, and dismissed

               by the Court on March 28, 2018 (ECF No. 47}” (See Schedule A of the April

               9, 2019 term sheet – Exhibit 2)

    37) Schedule A was prepared with care and while short, identified the specific technology

       that was provided by Mr. Blumenthal and incorporated into Stream’s products.

       Having evaluated the Stream TV directly, it was and is my opinion that every TV sold
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       by Stream incorporated the enumerated know-how and trade secrets and but for the

       license, infringed the patents referenced in the term sheet. This settlement was

       essential for Stream to continue selling product free of infringement allegations.

    38) Stream agreed to pay Rembrandt-Holding $5,840,000 in cash, 2,000,000 warrants to

       purchase Stream stock, 100 4K TVs for no charge, 8 8K prototypes at no charge, and

       the right to purchase 3,015,000 units at cost.

    39) At each mediation, Mr. Blumenthal emphasized that he wanted his companies to be

       one of Stream’s largest customers and that the most important aspect of the deal was

       the right to purchase products. That said, he knew that Philips charged at least

       $5,000,000 for a license with royalty minimums and that seemed like a reasonable

       floor for the cash component of the deal.

    40) Rembrandt-Delaware previously purchased a Stream TV for $5,250, so we estimated

       the value of the no charge TVs and the 8K prototypes to be about $567,000.

    41) We assessed that Stream was either going to fail rendering the warrants worthless or

       succeed making many billions in profit such that the value of the warrants would

       likely be worth tens of millions of dollars. Offering warrants made sense for Stream

       as it was a cashless component of the deal at the time, but also provided Rembrandt-

       Holding a strong incentive to support Stream’s success.

    42) We estimated Stream’s margin was approximately $400/unit so the ability to purchase

       3,015,000 units at cost was worth approximately $400/unit x 3,015,000 units =

       $1,206,000,000.

    43) In other words, the total value of the settlement agreement between Stream and

       Rembrandt-Holding is far greater than all the secured and unsecured Stream creditors’

       claims combined. In addition, if Rembrandt-Holding was to fully capture the value of
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       its negotiated settlement, it would need to find a market for millions of Stream’s

       products.

    44) To my knowledge, no other company has as many working installations of glasses

       free 3D displays as Rembrandt-Delaware. To have the leading company in glasses

       free 3D displays supporting Stream and the sale of its products is a major asset to

       Stream that has long last value.

    45) During negotiations, I built a simple spreadsheet model to calculate the relative value

       of each component of the settlement and we were able to compare various offers

       proposed by each side.

    46) As we were attempting to finalize the documents for settlement, we were contacted

       by counsel for Stream and asked to meet in person to make adjustments to the April 9,

       2019 term sheet but promised that Stream intended to maintain the net present value

       of the April 9, 2019 terms.

    47) We met with Shad Stastney, Mark Colemen (director of Stream), Neil Kronley, and

       John Welschlager on July 8, 2019. I attended with Stephen Blumenthal and counsel,

       Chi Eng and Neil Wallace.

    48) During our meeting, Mr. Stastney explained that Stream’s production was delayed

       and he requested flexibility on timing of payments and shipments of products. We

       asked a number of questions over the day, but I asked Mr. Stastney a series of specific

       questions about the expected production costs, production capacity, and the expected

       margin. As Mr. Stastney answered, I typed the answers into a computer and was

       using it to work with my valuation model. The fact that I was entering the data into

       my computer was obvious to everyone in the room. I later reviewed the spreadsheet

       model with Mr. Blumenthal and we evaluated how the proposed modifications to the
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       April 9, 2019 term sheet so we could assess whether the new proposals matched the

       net present value of the April 9, 2019 term sheet. Over the course of the day, I used

       my model to explain to everyone in the room that a particular proposal did not

       maintain the net present value and we would modify the terms until Mr. Blumenthal

       was satisfied that we were making reasonable modifications that preserved the value

       or the April 9, 2019 term sheet.

    49) I specifically asked Mr. Stastney about the margins for Stream’s products and Mr.

       Stastney told us that it would be about $400/unit during early commercial scale

       production and then drop to as low as $120/unit during very high volume production

       in later years.

    50) While our settlement agreement provides a right to purchase products at cost, I

       specifically discussed with Stream’s various representatives that increasing Stream’s

       volume of production would allow Stream to lower its production costs across all

       products such that Stream could command higher margins from other customer sales.

    51) At all times, Mr. Stastney proceeded with the expectation that sales to other

       customers of Stream would far exceed sales to Rembrandt-Holding. At various times,

       he stated that he did not expect sales to Rembrandt-Holding to exceed 5-10% of the

       total capacity of Stream.

    52) While 5-10% of Stream’s production capacity would still make Rembrandt-Holding

       one of the largest customers, the profits that Stream would be able to make by fully

       using the technology licensed by Rembrandt-Holding is 10-20 times the cost of

       obtaining the license from Rembrandt-Holding. If the value of the settlement

       agreement to Rembrandt-Holding is hundreds of millions of dollars, the value of

       having the license to Stream is billions of dollars.
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    53) I make these statements employing a high level of academic training in production

       forecasting and accounting as well as practical experience as an officer of technology

       companies and one called upon to advise private equity companies on valuing

       technology portfolios, but frankly, one does not need my level of expertise or training

       to follow the valuation.

    54) The settlement agreement terms are clear on their face and provide significant value

       to Rembrandt-Holding in both defined amounts of revenue and product purchase

       rights. No reasonable company or person, pays more for a technology license than it

       can generate in profit from that license and in almost all cases, licensees hope to make

       very large multiples of the amounts paid for a license in profit from implementing the

       business contemplated by the license.

    55) Shad Stastney is a well-educated CFO and experienced in financial markets. Unless

       he was purposefully looking to destroy Stream, he reasonably knew that the value of

       Stream would increase dramatically with the execution of a license to the Rembrandt-

       Holding technology. More specifically, any reasonable business decision maker

       would have expected the value of Stream to increase by hundreds of millions to

       billions of dollars after agreeing to the terms on April 9, 2019.

    56) I knew that our settlement agreement with Stream was advantageous to both sides and

       dramatically increasing Stream’s production would help Stream achieve a positive

       cash flow much faster while creating significant value for Rembrandt-Holding and

       based on our conversations over two days of in-person negotiations largely focused

       on these issues, I believe that Shad Stastney shared the same opinion when we

       reached agreement.

    57) I confirmed directly with Mr. Stastney that the value the ability to purchase units at
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       cost was $400/unit at the beginning trending to $120/unit at high volumes such that

       the value to Rembrandt-Holding of the right to purchase at cost products was

       approximately $360,000,000 to $1,206,000,000.

    58) At some point after our July 8, 2019 meeting, Stream’s management and board of

       directors went through turn over and Stream fired DLA Piper as its litigation counsel.

       It was very challenging to get anyone to respond to our requests to complete the

       settlement, so Rembrandt-Holding eventually filed a motion to enforce the April 9,

       2019 term sheet.

    59) I reached out to Shad Stastney after he left Stream because I knew that he ran the fund

       that was Stream’s first position lender. Mr. Stastney took my call and it was cordial,

       but he quickly told me that things were happening that he could not disclose and

       asked if he could call me in a few weeks after they resolved. He never called me

       back.

    60) I also reached out to representatives of Hawk, the second position secured lender, and

       received a similar response.

    61) I learned that a group of shareholders were suing Stream and were represented by

       Eben Colby. I spoke to Mr. Colby on February 18, 2020 and explained the

       Rembrandt-Holding litigation with Stream. He indicated that he would discuss the

       matter with his internal patent attorney partners and get back to me. He never called

       me back.

    62) I later spoke to Mr. Stastney after I became aware of the Omnibus Agreement and

       asked about SeeCubic’s plan to obtain a license to the Rembrandt-Holding

       technology. He explained that he felt the obligation to pay for any license rested with

       Stream and that SeeCubic had rights to all the technology of Stream. I pointed out
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       that Stream had no power to transfer our license to SeeCubic. He stated that

       SeeCubic did not plan to manufacture anything, but rather just license out rights to

       Ultra-D. I pointed out that both the Rembrandt-Holding agreement with Stream and

       the Philips license prohibited both assignment and sublicensing. He seemed surprised

       by this information and ended the call claiming that he did not feel that was a

       problem.

    63) As an expert in intellectual property licensing, I don’t think Mr. Stastney’s stated

       business plan for merely licensing technology rather than manufacturing is a viable

       strategy and is likely completely prohibited by both the Philips license and the

       Rembrandt-Holding technology rights.

    64) It does not appear SeeCubic’s business plans and the fact that they are just not

       permitted by the various underlying technology rights of Philips or Rembrandt-

       Holding were understood by the various parties to the Omnibus Agreement of the

       litigations in the prior bankruptcy proceeding or Delaware Chancery court action.

    65) I spoke with Mr. Stastney, Hawk’s representative, and Even Colby all well prior to

       any of them signing the Omnibus Agreement. They all knew about Rembrandt-

       Holding and its claims regarding the technology.

    66) Mr. Stastney specifically knew that he had negotiated to a term sheet before a

       Magistrate Parker indicating the technology was worth millions in cash payments and

       a right to purchase TVs and provided the information that shows such a right was

       worth up to $1.2 billion dollars.

    67) However, neither SLS, SeeCubic, Hawk, Mr. Stastney or Mr. Colby made the court

       aware that the Stream technology used in its TVs incorporated technology owned by

       Rembrandt-Holding and that transferring such technology to SeeCubic would further
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       misappropriate Rembrandt-Holding technology or that SeeCubic’s business plans are

       prohibited under the terms of the Philips license.

    68) At a bare minimum, Mr. Colby and Mr. Stastney could be under no reasonable

       delusion that Rembrandt-Holding was going to sit idly by and let SeeCubic use its

       technology without further litigation, yet they made no mention of it to the Chancery

       court or in the Stream Chapter 11 bankruptcy motion to dismiss.

    69) I do not know if Mr. Colby explained to his representative shareholder clients that

       their rights in SeeCubic could be severely compromised by Rembrandt-Holding’s

       claim prior to their entering the Omnibus Agreement, but it seems highly unlikely that

       they would have agreed to it if he had.

    70) I don’t know if counsel to the creditors were informed of Rembrandt-Holding’s claim

       or the limitations of the Philips agreement when they agreed to be paid from

       SeeCubic, but it also seems highly unlikely that any reasonable creditor would

       voluntarily choose to work with SeeCubic knowing that it has no rights to license

       technology or execute its stated business plan.

    71) I do not know if Mr. Stastney discussed the Rembrandt-Holding claim with potential

       investors in SeeCubic despite his intimate knowledge of both the claims and the value

       of the April 9, 2019 settlement term sheet he negotiated, but it seems unlikely that any

       informed investor would make any investment in SeeCubic if they knew of the

       Rembrandt-Holding claim or limitations of the Philips license.

    72) Clearly, the settlement terms were covered by the protective order, but the

       Rembrandt-Holding complaint against Stream was publicly available on PACER and

       could have freely have been shared with all parties and the Chancery court but does

       not appear to have even been mentioned.
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    73) The motion to enforce was still pending when I learned that Stream had filed for

       bankruptcy. Chi Eng was asked to attempt to contact litigation counsel for Stream

       regarding informing the district court about the bankruptcy and stay, but received no

       response, so Chi Eng notified the court of the pending bankruptcy and the automatic

       stay. The court extended the response time on the motion.

    74) I sent emails to Stream’s bankruptcy counsel (Exhibit 3), the counsel for creditors

       (Exhibit 4,) and the counsel for SeeCubic (Exhibit 5) on April 20, 2021 to make sure

       they all knew about our claim and to invite resolution. Only Stream’s counsel

       responded to my communications.

    75) Despite having communicated with all represented parties’ counsels in the Stream

       Chapter 11 prior bankruptcy proceeding, Rembrandt-Holding has not been provided

       any notice of any motions in any proceeding in the bankruptcy court or Delaware

       Chancery court.

    76) Rembrandt-Holding was not a party to the Omnibus Agreement, yet Shad Stastney,

       Eben Coffer, Stream, and the Rajans were all well aware of our allegations that all

       Stream technology infringed the rights held by Rembrandt-Holding. They all knew

       that Stream had no right to transfer any rights to Rembrandt-Holding technology to

       SeeCubic.

    77) It appears that Shad Stastney decided not to disclose to either the Chancery Court or

       the Bankruptcy Court that he personally represented Stream in our settlement

       negotiations and initialed the April 9, 2019 term sheet providing Rembrandt-Holding

       the settlement terms including over $6,400,000 in cash and free TVs, 2,000,000

       warrants, plus the right to purchase new TVs at a collective discount of $1.2 billion.

    78) After the bankruptcy case was dismissed, we were able to complete the settlement
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       agreement between Stream and Rembrandt-Holding on May 23, 2021 (Exhibit 6) and

       the litigation in the Southern District ended. The terms of the May 23, 2021

       settlement agreement are basically the same terms negotiated with Mr. Stastney on

       April 9, 2019 (Exhibit 2) except we provided flexibility on the timing of delivery of

       the TVs and some of the payments which are similar to the changes Mr. Stastney

       requested on Stream’s behalf in our July 8, 2019 meeting.

    79) The May 23, 2021 settlement agreement with Stream carries a substantial value to

       both companies.

    80) Stream now has a full license to use the Rembrandt-Holding technology, SeeCubic

       does not.

    81) However, until SeeCubic has such a license, it can fully expect that Rembrandt-

       Holding will seek to fully enforce its rights in the various forums seeking injunctions

       and to have their products held at the border. Mr. Stastney clearly knows SeeCubic,

       and/or its customers and vendors, need a license from Rembrandt-Holding to actually

       make and sell products but has failed to disclose that to date or to make any attempt to

       obtain the needed license from Rembrandt-Holding.

    82) The assets SeeCubic is hoping to take are actually highly compromised in SeeCubic’s

       hands because SeeCubic lacks the license from Rembrandt-Holding. To my

       knowledge, SeeCubic is not actually making anything yet, but it appears that

       SeeCubic is attempting to transfer source code and servers that include Rembrandt-

       Holding technology.

    83) Clearly, one does not need a license to do nothing (assuming that they are not copying

       any of technology from Stream’s servers). If SeeCubic does not take possession of

       anything that includes a Rembrandt-Holding technology, Rembrandt-Holding is not
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       affected by the Omnibus Agreement.

    84) Rembrandt-Holding is not a party to the Omnibus Agreement and the Chancery court

       does not have subject matter jurisdiction to evaluate patent infringement, copyright

       infringement or other matters that are exclusively the jurisdiction of federal courts. It

       seems likely that the Chancery court had no knowledge of Rembrandt-Holding’s

       rights in the technology when issuing the preliminary injunction, but even if the

       Chancery court did know of Rembrandt-Holding’s rights, it had no authority to

       transfer Rembrandt-Holding’s technology to SeeCubic.

    85) Put simply, SeeCubic has either misappropriated or is about to misappropriate

       Rembrandt-Holding’s rights and if SeeCubic ever successfully made, used, sold,

       offered for sale, imported or exported a TV covered by a Rembrandt-Holding patent,

       it will be sued for patent infringement along with any individuals that knowingly

       committed such acts of misappropriation and/or infringement.

    86) Certainly Dr. Barenbrug and Mr. Stastney are both well aware of the Rembrandt-

       Holding rights and I expect that other individuals will have knowledge of the

       misappropriation that will be discovered after further investigation.

    87) I have no idea what Mr. Stastney could possibly argue to avoid a willful infringement

       claim, given that while CFO for Stream he felt the Rembrandt-Holding claim was

       worth millions, but now in the hands of SeeCubic using the exact same technology he

       somehow believes SeeCubic does not require a license.

    88) Either Mr. Stastney knowingly committed Stream to millions of dollars of payments

       for worthless claims by Rembrandt-Holding or he is flagrantly intending to infringe

       the rights he reasonably valued on April 9, 2019 now that he is managing SeeCubic.

    89) SeeCubic is not entitled to an assignment of the settlement and license between
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       Rembrandt-Holding and Stream because there is an express prohibition of such an

       assignment. In fact, Stream’s counsel wrote in a change of control provision to the

       April 9, 2019 term sheet that accelerates all cash payments if Stream goes through a

       change of controlling ownership (except in the event of an IPO).

    90) If SeeCubic believes that it acquired all rights to Rembrandt-Holding technology

       under the settlement agreement, it needed to cut Rembrandt-Holding a check for

       $5,840,000 immediately. SeeCubic has not paid or offered to pay Rembrandt-

       Holding any money.

    91) Mr. Stastney agreed that the list of IP rights was valid and appropriate to include in

       the April 9, 2019 term sheet that was prepared by DLA Piper attorneys and

       modifications were written in DLA Piper attorney’s hand writing. The document was

       initialed by all parties and by Magistrate Parker.

    92) Assuming that Mr. Stastney is not taking a different position today than he did before

       all of us in the room on April 9, 2019, including Magistrate Parker, SeeCubic should

       not object to removing all functionality covered by the Rembrandt-Holding

       technology since he is unwilling to have SeeCubic take a license.

    93) The bankruptcy court does not need to reevaluate the merits of the Omnibus

       Agreement, for the current Stream bankruptcy, it merely needs to make sure that

       Stream does not transfer access to any of the Rembrandt-Holding technology that

       Stream did not have the right to transfer to SeeCubic.

    94) If SeeCubic found keys in the Stream offices with a large “Hertz” tag on the key

       chain and found that the keys worked for a car in a nearby parking lot, it would be

       completely unreasonable to conclude that the Omnibus Agreement somehow gave

       SeeCubic title to a car belonging to Hertz.
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    95) Similarly, the Rembrandt-Holding technology is not an asset of Stream and it

       certainly cannot be transferred to SeeCubic.

    96) While it would be easiest to leave all software and technology with Stream, it would

       be possible to have someone remove all of the Rembrandt-Holding know-how and

       trade secrets from the software to be transferred from Stream to SeeCubic.

    97) As long as the software and technology transferred removed all functionality that

       included the enumerated intellectual property rights, SeeCubic could take possession

       of the remaining technology and property of Stream under the Omnibus Agreement.

    98) The rights of Rembrandt-Holding can be protected in the current bankruptcy to

       prevent further misappropriation of Rembrandt-Holding technology by preventing

       Stream from breaching its settlement agreement by allowing SeeCubic to gain access

       to the technology of Rembrandt-Holding.

    99) Stream was capable of working with vendors to build an excellent TV in the past and

       even if 100% of all assets of Stream are transferred to SeeCubic, the team of people at

       Stream are likely capable of working with the same or similar vendors to build a high

       quality 3D TV. While Ultra-D is nice, Rembrandt-Holding owns the technology that

       was developed many years before Ultra-D. Rembrandt-Delaware is a world leader in

       glasses free 3D displays and has never used Ultra-D in its products.

    100)      By working with Rembrandt-Holding’s technology, Stream is a viable business

       entity even without any of the assets SeeCubic purports to now own, whereas,

       SeeCubic is not a viable business without a license to Rembrandt-Holding’s

       technology.

    101)      Any reasonable and informed valuation of Stream (after executing the

       settlement agreement (Exhibit 6) with Rembrandt-Holding) is far in excess of all
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         claims of secured and unsecured creditors and this determination importantly flows

         from the information provided to me directly by Shad Stastney while he was CFO of

         Stream and the April 9, 2019 term sheet he negotiated (Exhibit 2).

     102)       The best way to protect all parties is to proceed with the bankruptcy process to

         ensure that an optimal result is achieved for all the secured and unsecured creditors.

     Pursuant to 28 U.S.C. section 1746, I declare under penalty of perjury of the laws of the

     United States of America that the foregoing is true and correct.



                                              /s/ Christopher Michaels
         Dated: June 8, 2021                  _______________________________
                                              Christopher Michaels
                                              Patent attorney for Rembrandt 3D Holding Ltd.




 Exhibit List (To Be Filed Separately):

 Exhibit 1      First Amended Complaint and exhibits
 Exhibit 2      April 9, 2019 Term Sheet initialed by Shad Stastney
 Exhibit 3      Mr. Michaels email to Stream’s bankruptcy counsel on April 20, 2021
 Exhibit 4      Mr. Michaels email to the counsel for creditors of Stream on April 20, 2021
 Exhibit 5      Mr. Michaels email to the counsel for SeeCubic on April 20, 2021
 Exhibit 6      Settlement agreement between Stream and Rembrandt-Holding on May 23, 2021
 Exhibit 7      Philips license to 3D Fusion.
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                                                 Transaction ID 68288444
                                                 Case No. 2020-0766-JTL




                    EXHIBIT 9
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                     )
 In re:                                              )    Chapter 7
                                                     )
 Stream TV Networks, Inc.                            )    Case No. 21-10848 (KBO)
                                                     )
                                                     )    Related to D.I. 22
                          Alleged Debtor             )
                                                     )

                       DECLARATION OF STEPHEN BLUMENTHAL
             IN SUPPORT OF THE OBJECTION OF THE PETITIONING CREDITORS
                       TO THE EMERGENCY MOTION TO DISMISS


     1) My name is Stephen Blumenthal. I am the managing member of Rembrandt 3D

          Holding Ltd. (“Rembrandt - Holding”) a Nevis corporation. I am also the President

          and CEO of Rembrandt 3D Corp. (“Rembrandt – Delaware”) a Delaware corporation.

     2) The following facts are within my personal knowledge, except as noted, and are true

          and correct. I file this Declaration under 28 U.S.C. § 1746.

     3) I was a co-founder of 3DFusion Corp. (“3DFusion”), the original owner of the

          improved Philip’s 3DASD technology (or glasses-free 3D autostereoscopic display

          technology).

     4) Philips offered a Glasses-Free three-dimensional (3D) autostereoscopic display

          (“3DASD”) solution known as the WOWvx Platform for converting and generating

          3D content from two-dimensional (2D) media content for rendering on Philips’s

          3DASD monitors. The WOWvx Platform uses mathematical algorithms to add depth

          and stereoscopic information to 2D content (i.e., 2D+Depth) thereby creating 3DASD

          content.

     5) However, Philips’s 3DASD solution suffered from significant image quality issues

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       because the 3DASD content generated by the WOWvx Platform contained numerous

       artifacts such as ghosting and required weeks of manual post-processing to correct.

       Nonetheless, 3DFusion licensed the WOWvx Platform from Philips.

    6) Through extensive experimentation and research comprising more than 3000 hours of

       2D-to-3D-depth-map rotoscoping, I developed a novel and non-obvious methodology

       to correct the image quality issues or artifacts in the 3DASD content generated by the

       Philips's WOWvx Platform.

    7) In August of 2009, Philips notified 3DFusion that it was in the process of winding

       down its incubator 3DSolutions because it was unable to solve the aforementioned 3D

       image artifacts. However 3DFusion could continue to use the previously licensed

       hardware and software under its arrangement with 3DSolutions because Philips

       recognized that 3DFusion, though a 2-man company, could through its proprietary

       technology, could continue to advance Philips's products and tools including the

       WOWvx platform.

    8) In or about September 2009, upon the shutdown of 3DSolutions, which manufactured

       the 3DASD monitors and developer of the supporting software (e.g. the WOWvx

       platform), I acting on behalf of 3DFusion, immediately contacted the former

       3DSolutions' key technology experts (the "Team") to join 3DFusion as part of an

       effort to re-establish support for the WOWvx platform that had been provided by the

       now defunct 3DSolutions, and to engage the Team in Eindhoven, Netherlands,

       through a wholly owned Dutch subsidiary of 3DFusion. The Team included Walther

       Roelen ("Roelen") a former 3DSolutions 3DTV lens designer and Bart Barenbrug

       ("Barenbrug") a former 3DSolutions senior software engineer, both of whom are

       Dutch residents.
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    9) For convenience sake, the Dutch subsidiary was named "C3D" prior to its corporate

       formation. The name "C3D" was later changed to "3DFusion EU" as indicated in an

       email dated March 15, 2010 from Walther Roelen.

    10) In December 2009, I went to Eindhoven, Netherlands to negotiate a license with

       Philips to manufacture the Philips WOWvx platform and to use their 800+ patents,

       which cost Philips close to half a billion dollars in R&D and to upgrade the Philips

       products and tools. 3DFusion signed the Philips Technology License in April of 2010

       At that time, I also demonstrated 3DFusion's proprietary technology to the Team

       including Roelen and Barenbrug, all of whom orally agreed to keep 3DFusion's

       proprietary technology confidential. After the demonstration, one of the members of

       the Team, Ms. Grazina Seskeciuite, stated that "it took two guys from New York to

       come to Philips to show us how to fix our TV." My solution took two of the Philips

       tools which they considered ‘constants’ and I discovered that they could be used

       ‘dynamically’ to adjust and ‘dial in the 3d image.” Once the former 3DSolutions

       technical experts, (my Team) saw what their 3DTV could do, what it should look like

       with my solution, they immediately realized my solution was the first time anyone

       had seen the WOWvx 2D+Depth 3D image quality achieve a Broadcast Quality

       industry standard. Consequently, the senior 3DSolutions engineers went to Philips

       Intellectual Property and Standards Division and convinced them to provide a license

       to me.

    11) Later in this same month, 3DFusion engaged the Team, including Roelen and

       Barenbrug as independent contractors to support 3DFusion's efforts to restart

       manufacturing of Philips's 3DASD monitors and the WOWvx platform.

    12) In January 2010, I commenced bi-weekly teleconferences with the Team for starting
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       up the new Dutch subsidiary, with meeting minutes (the "Minutes") recorded by Ms.

       Ann-Marie van Ham, a member of the Team. The meeting minutes show the various

       technical and administrative issues addressed by the Team including licensing issues

       with Philips and my proposed 3D switchable lens design for joint development with

       Corning Glass, all of which are deemed confidential and proprietary information of

       3DFusion. See, e.g., Minutes of February 17, 2010.

    13) Having secured Philips’s intellectual property and key technology experts, 3DFusion

       proceeded to seek funding and/or financing for its expanded operations and liabilities

       required by the new business model.

    14) In June of 2010, Raja and Mathu Rajan, as officers of Stream TV were introduced

       (hereinafter collectively “the Rajans”) to 3DFusion as potential investors.

    15) On June 9 of 2010, Raja Rajan and Mathu Rajan, principals of Stream TV Networks,

       Inc., came to 3DFusion’s offices at 110 Wall Street, New York, NY to view a

       demonstration of 3DFusion’s 3DASD technology. Raja Rajan was the general

       counsel and COO of Stream and his brother, Mathu Rajan, a technologist and the

       CEO of Stream.

    16) At the initial June 9, 2010 meeting, the Rajans stated that they had purchased a 42”

       Philips 3DASD TV platform and experienced the same 3D image quality failure as

       noted above. Upon viewing the 3DFusion’s improved 3DASD tools and content on

       the same 42” model of the Philips WOWvx platform that they owned, they became

       immediately convinced of the significance of the 3DFusion solution to the Philips

       3DASD problem.

    17) At this time, Stream, with no 3DASD technology of their own, was trying (as yet

       unsuccessfully) to develop a marketable glasses free 3D product. They realized that
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       3D Fusion’s technology would make that possible.

    18) They indicated that the 3DFusion technology solved what was previously believed to

       be an unsolvable problem, and that this development would therefore provide them

       with a commercially viable 3D television product.

    19) Based on this demonstration, the Rajans immediately signed a Mutual Non-

       Disclosure and Confidentiality Agreement on June 9, 2010, and began equity funding

       negotiations, with the promise to provide $20 million in funding.

    20) 3DFusion provided Stream with information regarding all of the Confidential

       Information that had been developed by me and the Team, including both the

       pathway to automation of the 3D content generation process, and the 3D playback

       optimization and correction process that had, prior to my ground breaking work, been

       impossible to solve.

    21) Over the ensuing months, I worked with the Rajans, Roelen, and Barenbrug and the

       Team. Under my leadership and supervision, we all worked collaboratively towards

       the goal of pursuing glasses free 3D television technology.

    22) In September I officially hired Roelen as the General Director (CEO) of the 3DFusion

       EU. BV., the Dutch subsidiary, and paid him a Salary, with back pay to July 2010.

       Once the Dutch BV was established, employment contracts were initiated.

    23) 3DFusion established and funded bank accounts for its Dutch subsidiaries 3DFusion

       Holding B.V. and 3DFusion EU B.V. W. Roelen withdrew certain funds from both of

       these bank accounts ostensibly for salary payments for the Team from about June

       2010 through February 2011 including the period prior to his appointment as Director

       at 3D Fusion EU B.V in September 2010, even though Roelen was not an officer of

       3DFusion Holding B.V. Barenbrug attended various trade shows on behalf of 3D
                                                                                                 5
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       Fusion EU B.V. which paid for his trade shows related expenses and his equipment.

    24) In October 2010, under Roelen’s directions, 3DFusion EU hired its first full time

       employee, Ms. Grazina Seskeciuite, who was a graphic arts engineer and software

       developer, who had worked closely with Barenbrug at the former 3DSolutions,

       Roelen as the General Director with overall managerial responsibilities of the

       company, handled all confidential documents, had approved the Team’s employment

       contracts template and was the Senior team organizer to whom the team looked to for

       guidance.

    25) After 4 months of negotiating with the Rajans, on September 28th we signed our

       completed Term Sheet for their partnering investment, and I proceeded to provide

       them with full Due Diligence disclosures.

    26) On October 8, 2010, I visited Stream’s office in Philadelphia, Pennsylvania during

       which meeting I answered questions from Raja Rajan and Mathu Rajan and other

       employees of Stream (including Mr. Suby Joseph, the CFO of Stream) about

       3DFusion’s business plans and startup strategy and demonstrated 3DFusion’s

       proprietary technology using 3DFusion’s equipment loaded with 3DFusion’s

       proprietary software and educated them on my solution. I went through all aspects of

       the workflow, of conversion, of optimization and correction of the artifacts in the

       3DASD video content. I also explained how the lens design for the 3DASD monitors

       was critical to matching the content to, and went over the 2d switchable technology.

       This meeting lasted about 9 hours and Stream videotaped the entire 8-hour work

       session.

    27) On October 27, 2010, at a 3D Technology conference (i.e., the Kagan 3D Technology

       Conference) at Waldorf Astoria hotel in New York City, I was seated on the same
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       panel as Mr. Jeffrey Katzenberg of DreamWorks, Mr. John Landau of Lucas Films,

       and other video pioneers discussing 3DASD technology. After the conference I

       invited them to our Waldorf suite for a full demonstration of the 3DFusion

       technology. The Waldorf conference and my 3DFusion, “Perfect Picture” broadcast

       quality 3DASD presentations resulted in our scheduling 3DASD demonstrations for

       Sony, Dreamworks, Intel, Technicolor, Sony, Pixar, Variety magazine and other west

       coast media companies, for the coming months.

    28) On or about January 5, 2011, 3DFusion received a “Termination Agreement” dated

       January 5, 2011 and signed by Mathu Rajan on behalf of Stream and in his individual

       capacity, and Raja Rajan in his individual capacity contending that the Term Sheet is

       binding and that 3DFusion breached a clause in the Term Sheet.

    29) 3DFusion subsequently learned that Director Roelen was acting to the detriment of

       3DFusion EU and 3DFusion, in violation of his fiduciary and contractual duties to his

       employer 3DFusion and his confidentiality obligations under his NDA. Roelen

       understood that the information provided to him, or that was developed as derivative

       works of Philips's license technology, were all protected intellectual property and

       information of 3DFusion.

    30) Upon information and belief, Roelen accepted an employment offer directly from

       Stream soon after the expiration of his NDA with 3DFusion, i.e., in or about January

       2011.

    31) Roelen continued to access and withdraw funds from 3DFusion Holding B.V. and

       3DFusion EU B.V. until 3DFusion terminated his position of Director at 3DFusion

       EU B.V. in or about May 2011.

    32) In or about January 2012, to his dismay, I learned for the first time that Stream,
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       Rajans, Roelen, and Barenburg had benefited from their violation of their NDAs and

       breach of their fiduciary responsibilities and contractual obligations to 3DFusion.

       While attending the Consumer Electronics Show ("CES") at Las Vegas, Nevada in

       January 2012, I observed W. Roelen working at Stream's exhibit booth and

       representing himself as an employee of Stream, along with other former members of

       the 3DFusion EU technical team. The technology exhibited by Stream, Rajans, and

       W. Roelen at the CES show belonged to 3DFusion.

    33) I also learned in or about 2017 that Roelen and Barenbrug filed a US patent

       application (Ser. No. 14/428,866) entitled "Depth Adjustment of an Image Overlay in

       a 3D Image" on March 17, 2015 claiming priority to a Dutch patent application (Ser.

       No. 2009616) with a filing date of Oct. 11, 2012, which applications disclose the

       Confidential Information in violation of their NDAs such as, for example, the border-

       blending and depth- smoothing functions or features described in at least paragraphs

       [0076], [0077], [0081], and [0082] of the 14/428,866 application.

    34) U.S. patent application 14/428,866 is owned by Stream's wholly owned subsidiary

       Ultra-D Coöperatief U.A. in Einhoven, Netherlands and has since abandoned the

       patent application as part of the settlement agreement between Rembrandt-Holding

       and Stream.

    35) 3DFusion Corp. could not withstand the blow to its finances from the loss of the

       Eindhoven team and theft of its technology and closed operations.

    36) In 2016, I acquired all of the assets and interests including all causes of action of

       3DFusion and its subsidiaries and in 2017, I assigned such interests and causes of

       action to Rembrandt 3D Holding, Ltd, which was the plaintiff in the action against the

       Rajans and Stream.
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    37) Rembrandt-Holding is the successor-in- interest to 3DFusion Corp.

    38) Rembrandt-Holding filed a complaint in the New York State Supreme Court in

       January 2017 against Stream TV Network, Inc. (“Stream”), Raja Rajan, and Mathu

       Rajan among others (Stream, Raja Rajan, and Mathu Rajan, collectively referred to as

       the “Defendants”).

    39) Defendants removed the state action to federal court.

    40) Rembrandt-Holding subsequently moved to amend its complaint (the First Amended

       Complaint (FAC)), which was unopposed by Defendants. Defendants were served

       with the FAC on June 23, 2017 which is attached as Exhibit 1 to this declaration.

    41) During a hearing on May 11, 2018, the parties agreed to mediation by a magistrate

       judge. [Dkt# 56] Subsequently, Magistrate Judge Parker ordered the parties to attend

       a settlement conference in person with counsel on July 18, 2018 (the “First Mediation

       Conference”). [Dkt# 58] Raja Rajan attended the First Mediation Conference with

       Mr. Neal Kronley of DLA Piper (former counsel to Defendants) while I came as the

       sole director and officer of Rembrandt-Holding, and was represented by my counsel

       Chi Eng and Christopher Michaels.

    42) At the First Mediation Conference, I demonstrated the 3DASD technology using the

       original 3DFusion equipment loaned to Stream in 2010. This identical equipment

       was featured in a news article dated January 25, 2011 published by The Flying Kite

       Media, a Philadelphia based online magazine (the “2011 News Article”), wherein

       Defendants showcased 3DFusion’s laptop and video content. (Ex. 1, 2011 News

       Article entitled “how philly is leading the glasses-free 3d revolution”).

    43) I felt having published photographic evidence of Stream claiming credit for the

       technology on my computer, using my software, and my content that I had developed
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       was fairly compelling evidence, but as mediations progressed both me and the

       attorneys representing Rembrandt-Holding provided additional evidence and

       argument that everyone of Stream’s current products and their intended products

       included intellectual property owned by Rembrandt-Holding.

    44) I made specific mention of the fact that Roelen, Barenburg, and Stream's wholly

       owned subsidiary Ultra-D Coöperatief U.A. in Einhoven, Netherlands were

       attempting to patent my technology as their own in U.S. patent application

       14/428,866. I provided specific examples of the portions of the patent application that

       were my inventions.

    45) After the First Mediation Conference, Ultra-D Coöperatief U.A. abandoned U.S.

       patent application 14/428,866 that included my technology as part of our on-going

       settlement discussions. This effectively immediately resolved an extremely important

       issue to me and injected some degree of good will into a difficult situation.

    46) During the mediation presided over by Judge Kathleen Parker, Stream also provided

       several of their 4K TVs for us to evaluate by sending them to our various locations

       across the country at no charge which also paved the way for further settlement

       discussions.

    47) I was able to compare the Stream 4K TV to the old Philips 3D TVs and TVs made by

       other manufacturers. I was able to use my technology to correct image errors on the

       Philips 3D TVs and compare it to how the Stream 4K TV managed to correct the

       same content. I reviewed these comparisons with Christopher Michaels in his offices

       in Ithaca, NY.

    48) For the following six months, the parties corresponded settlement terms via email and

       conducted several in-person settlement conferences at Stream offices in Philadelphia
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       with me, Christopher Michaels, and Neil Wallace representing the Rembrandt-

       Holding, and Raja Rajan representing the Defendants. The parties did not resolve

       their differences.

    49) On January 11, 2019, Magistrate Judge Parker ordered the parties to attend a second

       settlement conference in person with counsel on April 9, 2019 (the “Second

       Mediation Conference”). [Dkt# 67]

    50) At the Second Mediation Conference, Stream was represented by its Chief Financial

       Officer, Shad Stastney, and its counsel Neil Kronley and John Wellschlager.

    51) During the Second Mediation Conference, the parties reached the terms of an

       agreement and a term sheet was prepared by Stream’s counsel that was initialed by

       me, Stream CFO Shad Stastney, our respective attorneys, and Magistrate Parker and I

       have attached a copy of this term sheet initialed by Shad Stastney as Exhibit 2.

    52) This term sheet provided for Stream to license Rembrandt-Holding’s:

           a. “Knowhow and trade secrets related to methodology for:

                   i. efficiently converting, correcting and optimizing a 2D+Depth video

                      for playback on a 3D autostereoscopic associated with the Philips

                      technology

                  ii. utilizing the Philips 2d Switchable Lens technology for refractive and

                      detractive lens switching for the creation of the 'lightfield' and 3d

                      content artefact correction.

                  iii. utilizing the On Screen Display functions of Borders and "Liveliness."

           b. Trademarks

           c. the patents asserted in Rembrandt's First Amended Complaint, and dismissed

               by the Court on March 28, 2018 (ECF No. 47}” (See Schedule A of the April
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               9, 2019 term sheet – Exhibit 2)

    53) Every TV sold by Stream incorporated the enumerated know-how and trade secrets

       and but for the license, infringed the patents referenced in the term sheet, so this

       settlement was essential for Stream to continue selling product free of infringement

       allegations.

    54) Stream agreed to pay Rembrandt-Holding $5,840,000 in cash, 2,000,000 warrants to

       purchase Stream stock, 100 4K TVs for no charge, 8 8K prototypes at no charge, and

       the right to purchase 3,015,000 8K 3DASD LCD units at cost.

    55) At each mediation, I emphasized that I wanted my companies to be one of Stream’s

       largest customers and that the most important aspect of the deal was the right to

       purchase products. Rembrandt-Delaware previously purchased a Stream TV for

       $5,250, so we estimated the value of the no charge TVs and the 8K prototypes to be

       about $567,000.

    56) Based on Shad Stastney’s statements, we estimated at Stream’s margin was

       approximately $400/unit so the ability to purchase 3,015,000 units at cost was worth

       approximately $400/unit x 3,015,000 units = $1,206,000,000.

    57) In other words, the total value of the settlement agreement between Stream and

       Rembrandt-Holding is far greater than all the secured and unsecured Stream creditors’

       claims combined.

    58) As we were attempting to finalize the documents for settlement, we were contacted

       by counsel for Stream and asked to meet in person to make adjustments to the April 9,

       2019 term sheet but promised that Stream intended to maintain the net present value

       of the April 9, 2019 terms.

    59) We met with Shad Stastney, Mark Colemen (director of Stream), Neil Kronley, and
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       John Welschlager on July 8, 2019. I attended with counsel, Chi Eng, Christopher

       Michaels, and Neil Wallace.

    60) During our meeting, Mr. Stastney explained that Stream’s production was delayed

       and he requested flexibility on timing of payments and shipments of products. We

       asked a number of questions over the day, but Christopher Michaels asked Mr.

       Stastney a series of specific questions about the expected production costs, production

       capacity, and the expected margin. As Mr. Stastney answered, I saw Mr. Michaels

       type the answers into a computer and later reviewed the spreadsheet that Mr.

       Michaels was using to show a financial model that evaluated the various proposals for

       modifications to the April 9, 2019 term sheet so we could assess whether the new

       proposals matched the net present value of the April 9, 2019 term sheet.

    61) Mr. Michaels specifically asked Mr. Stastney about the margins for Stream’s products

       and Mr. Stastney told us that it would be about $400/unit during early commercial

       scale production and then drop to as low as $120/unit during very high volume

       production in later years.

    62) While our settlement agreement provides a right to purchase products at cost, we

       specifically discussed with Stream’s various representatives that increasing Stream’s

       volume of production would allow Stream to lower its production costs across all

       products such that Stream could command higher margins from other customer sales.

    63) We confirmed directly with Mr. Stastney that the value the ability to purchase units at

       cost was $400/unit at the beginning trending to $120/unit at high volumes such that

       the value to Rembrandt-Holding of the right to purchase at cost products was

       approximately $360,000,000 to $1,206,000,000.

    64) At some point after our July 8, 2019 meeting, Stream’s management and board of
                                                                                                   13
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       directors went through turn over and Stream fired DLA Piper as its litigation counsel.

       It was very challenging to get anyone to respond to our requests to complete the

       settlement, so Rembrandt-Holding eventually filed a motion to enforce the April 9,

       2019 term sheet.

    65) The motion to enforce was still pending when I learned that Stream had filed for

       bankruptcy. I asked Chi Eng to attempt to contact litigation counsel for Stream

       regarding informing the district court about the bankruptcy and stay, but received no

       response, so Chi Eng notified the court of the pending bankruptcy and the automatic

       stay. The court extended the response time on the motion.

    66) I asked Mr. Michaels to reach out to Stream’s bankruptcy counsel (Exhibit 3), the

       counsel for creditors (Exhibit 4,) and the counsel for SeeCubic (Exhibit 5) on April

       20, 2021 to make sure they all knew about our claim and to invite resolution. Only

       Stream’s counsel responded to our communications.

    67) Despite having communicated with all represented party’s counsels in the Stream

       Chapter 11 prior bankruptcy proceeding, neither Rembrandt-Holding or I have ever

       been provided any notice of any motions in any proceeding in the bankruptcy court or

       Delaware Chancery court.

    68) Rembrandt-Holding was not a party to the Omnibus Agreement, yet Shad Stastney,

       Eben Coffer, Stream, and the Rajans were all well aware of our allegations that all

       Stream technology infringed the rights held by Rembrandt-Holding. They all knew

       that Stream had no right to transfer any rights to Rembrandt-Holding technology to

       SeeCubic.

    69) It appears that Shad Stastney decided not to disclose to either the Chancery Court or

       the Bankruptcy Court that he personally represented Stream in our settlement
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       negotiations and initialed the April 9, 2019 term sheet providing Rembrandt-Holding

       the settlement terms including over $6,400,000 in cash and free TVs, 2,000,000

       warrants, plus the right to purchase new TVs at a collective discount worth over $1.2

       billion.

    70) After the bankruptcy case was dismissed, we were able to complete the settlement

       agreement between Stream and Rembrandt-Holding on May 23, 2021 (Exhibit 6) and

       the litigation in the Southern District ended. The terms of the May 23, 2021

       settlement agreement are basically the same terms negotiated with Mr. Stastney on

       April 9, 2019 (Exhibit 2) except we provided flexibility on the timing of delivery of

       the TVs and some of the payments which are similar to the changes Mr. Stastney

       requested on Stream’s behalf in our July 8, 2019 meeting.

    71) The May 23, 2021 settlement agreement with Stream carries a substantial value to

       both companies.

    72) Our agreement provided Stream a complete resolution of the litigation through a

       license to the technology and an expectation of large purchases from Rembrandt-

       Holding.

    73) It is my belief that through my companies have a market for all the TVs that Stream is

       obligated to provide.

    74) Rembrandt-Delaware has been purchasing 3D hardware from a variety of sources and

       selling equipment and installations without using any UltraD technology.

    75) Rembrandt-Delaware has successfully been selling a number of 3DASD product and

       projects over the years, including bringing to market a 10” Android, no glasses 3D

       tablet, which received rave reviews from Huffington Post science writer Robert

       Elisberg (http://rembrandt3d.com/media-2/rembrandt-3d-10-auto-stereoscopic-no-
                                                                                                  15
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       glasses-3d-android-tablet/) Rembrandt Delaware 3D tablet has been for sale on

       Amazon for a number of years, until our entire remaining inventory was purchased by

       one customer in 2020.

    76) In 2015 we joined forces with Ken Love a renowned Frank Lloyd Wright

       videographer for the production of a 3DASD film on Wright’s iconic house,

       “Fallingwater. This Rembrandt 3DASD presentation is on display at the Fallingwater

       site and at the Pittsburgh International Airport Frank Lloyd Wright exhibit. Our

       website shows our installation regarding the Frank Lloyd Wright Falling Water

       installation - http://rembrandt3d.com/the-opening-of-the-3d-no-glasses-frank-lloyd-

       wright-film-fallingwater-in-3d-at-the-pittsburgh-international-airport/.

    77) To my knowledge, Rembrandt-Delaware is the only company selling Broadcast

       Quality, consumer glasses free products in the US and has the only glasses free 3D

       installations in museums, public forums and other world class locations, which have

       been operating seven days a week since 2010.

    78) Rembrandt-Delaware has multiple vendor options for providing glasses free 3D

       hardware and is about to expand its product line up and management team. We

       would like Stream’s 3D products to fit into that business.

    79) Our current plans include a continuation of the museum installations. The ideal

       project included 3D installations at the museum, installations in travel venues

       (airports, train stations, etc.) and then travelling exhibits that the museum can use to

       market the museum at other museums. Rembrandt-Delaware works closely with the

       content creators and provides content creation, conversion, and optimization services.

       So an agreement with one museum can include a sale of 6-12 TVs and a large amount

       of bundled services running into a total of hundreds of thousands of dollars. The 3D
                                                                                                   16
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       TVs are an essential part of that budget, but frankly a relatively small part compared

       to the budget for services and surrounding installations.

    80) The main advantage to Rembrandt-Delaware of these installations is the ability to

       demonstrate the very high end of the market for 3D content and hardware that acts as

       an effective marketing tool for Rembrandt-Delaware.

    81) Rembrandt-Delaware’s primary market will be in-store advertising displays targeting

       chains, big box independents and department stores. A single store might want

       dozens of 3D displays and the retail store can provide advertising of its own products

       or ads sold to its vendors. This is already a common practice for 2D displays and a

       great deal of software, network management, and content services already exist.

    82) However, to bring 3D into this market, the 3D display and 3D content must be

       exceptional and without any artifacts. My technology allows impressive 3D effects to

       make images appear with depth from the face of the screen back to the perspective

       vanishing point and outward from the face of the screen, “forward pop” extending

       40% of the screens diagonal measurement. For advertising, it is possible to work

       with short 15-120 second clips to match the content to the capabilities of the 3D

       display.

    83) I intend to target chain store retailers with overlapping products for cross pollination

       of 3D digital signage network advertising between them. I would pick them in five

       different categories. For example, a 3D ad for a video game could play in a variety of

       stores, e.g. Walmart-10,526 stores, Game Stop-4,816 stores, Best Buy-977. Each of

       these stores, could install a dozen or more TVs. 20,000+ stores targeted for network

       of dedicated product. Once a particular store that sells video games starts using 3D

       displays, the competitive retail chains will be under pressure to follow suit. Likewise,
                                                                                                    17
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       once one video game is advertised with 3D video content, every other video game

       creator will be under pressure to compete with 3D advertising. Roughly 10,000 new

       video game titles are published each year. With each store or vendor paying for its

       own content creation, Rembrandt 3D is able to charge tens of thousands for a simple

       2D to 3D ad conversion or millions for novel 3D content creations and can charge a

       percentage of the ad revenue for running the ads in the 3D display network. Just

       assuming video game retailers selling 6 3D displays per store over 20,000 locations,

       would mean 120,000 3D displays and the potential for 3D ads for thousands of new

       titles.

    84) While using video games as an example, the same competitive logic exists for

       numerous products, e.g. jewelry, make-up, clothing, etc.

    85) Such advertising networks are extremely common for 2D video content and given the

       number of venues like airports that are municipalities, we have downloaded the

       standard contracts used by Clear Channel and others for revenue sharing with the

       store. There are already ad brokers to sell ad time in just about any major mall or

       transportation venue in the US. While such networks are available for 2D video and

       print displays, they have yet to be created for 3D content ads and Rembrandt-

       Delaware intends to enter this market in force.

    86) Statistica.com estimates that in 2020 digital out-of-home advertising spending in the

       United States was to amount to 2.72 billion U.S. dollars. It is projected to further

       grow to 3.84 billion dollars by the end of 2023. To date all of that revenue is for 2D

       technology rather than 3D and does not count the charges for content creation and

       other services.

    87) Rembrandt-Delaware is expanding its management team to include John Endicott,
                                                                                                 18
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       former Westfield Mall executive, as VP of Retail Sales He was Vice President of

       Design & Construction, Vice President of Development, Vice President of Partner

       Relations. His title in London was Executive Vice President of International

       Development. Mr. Endicott’s prior position created relationships with a large number

       of retail store chains. Mr. Endicott created Westfield’s tenant design criteria for new

       and remodeling of stores and for Westfield’s temporary kiosk tenants and the concept

       for a permanent kiosk where tenants lease the kiosk and immediately commence

       trading so he is extremely familiar with the necessary construction issues and permits

       for both small and large 3D TV installations.

    88) Rembrandt-Delaware also plans to provide “3D IN A BOX” as turn-key 3D platform

       that is shipped in an automatic lift, display ATA travel Case on wheels, with remote

       control operation of the lift mechanism which elevates the 3D display. The package

       would include a 7-day ship and return, freight paid by buyer, plus a custom quote for

       content. Effectively, this would a short term lease of the unit and we would retain

       ownership of the units. We plan to keep permanent housing of the units near typical

       convention venues to allow companies to use the hardware at their trade shows. If the

       customers use them frequently enough, we would also offer the units for sale, but the

       3D display would be one aspect of the total hardware sold to the customer.

    89) Rembrandt-Delaware has a number of other product concepts in the works, but they

       are less relevant to a specific purchase of 3D displays from Stream.

    90) Rembrandt-Delaware can enter these markets with or without Stream or the UltraD

       technology, but the Rembrandt-Holding and Stream settlement agreement provides a

       strong incentive to work with Stream products.

    91) To be clear, 100% of the products by Stream and all UltraD technology includes my
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       know-how, trade secrets, and would infringe the patents assigned to Rembrandt-

       Holding. All of this technology was licensed to Stream in the settlement agreement,

       but Stream did not have the right to assign this license or to sub-license others (other

       to have products made).

    92) This is common in the industry and mimics the license that 3D Fusion had with

       Philips that I have attached as Exhibit 7 (note the confidentiality period has expired)

       note section 2.1:

       “Philips has the right of termination thereof under Section 5.2, below, Philips hereby

       grants to 3D Fusion and its Affiliates, during the term of this Agreement, a worldwide

       non-exclusive, non-transferable license, without the right to grant sub-licenses,

       under the Licensed Patents and the Licensed Know-How to: (a) use, sell, offer to sell,

       import, export, and otherwise dispose of the Licensed Products, and (b) lease,

       operate or otherwise make available to customers thereof, the Licensed Products,

       including the right to utilize any Licensed Products to provide services relating to 3D

       Content Services to any third party.” (emphasis added)

    93) Rembrandt-Holding provided Stream a non-exclusive license to the technology that is

       embedded in the UltraD technology. Stream had and has no power to sublicense

       others. More specifically, Stream does not have the power to transfer its license or to

       sublicense SeeCubic.

    94) Transferring rights to UltraD and/or Stream’s Eindhoven corporations to SeeCubic

       does not transfer any rights to the technology of Rembrandt-Holding.

    95) Further, if those entities or individuals transferred any of the know-how, trade secrets,

       or technology covered by the patents owed by Rembrandt-Holding, it would violate

       both the settlement agreement with Rembrandt-Holding.
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    96) Despite the dispute between the parties, Rembrandt-Delaware had purchased a 4K

       UltraD TV from Stream in the past. During settlement negotiations, Stream provided

       several 4K TVs that included the UltraD technology. Reviewing the UltraD

       technology allowed me to assess whether it included the technology I developed

       through 3D Fusion (later transferred to Rembrandt-Holding). I found that the

       Rembrandt-Holding technology was embedded in every Stream TV. However, I was

       also able to compare the Stream product to other glasses 3D TVs made by other

       companies with Philips 3DASD units utilizing my technology, and identify image

       optimizations in the Stream Ultra-d monitor which utilized my patented methodology

    97) I see from SeeCubic’s website that Bart Barenbrug is now associated with SeeCubic.

       After Dr. Barenbrug ceasing to work with 3D Fusion and then going to Stream and

       filing a patent application seeking to protect my technology, it is upsetting to see that

       he is now working with yet another new company once again seeking to sell products

       using my technology without compensation.

    98) While Ultra-D Coöperatief U.A. did abandon U.S. patent application 14/428,866 that

       included my technology as part of our on-going settlement discussions, that one act

       does nothing to address the rest of the technology that was eventually licensed to

       Stream.

    99) Neither Ultra-D Coöperatief U.A. or SeeCubic has a license to my technology. While

       the CFO of Stream, Mr. Stastney was willing to have Stream pay many millions in

       value to obtain a license, he has not offered a single cent for a license from SeeCubic.

       It was my genuine impression that Mr. Stastney believed that the agreement we

       reached on April 9, 2019 was a fair valuation of my technology and we reached

       reasonable settlement terms. If he believed it was fair then, I can think of no excuse
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       that would justify a belief that SeeCubic should not pay a similar amount for a license

       to the exact same technology to make the exact same product.

    100)     I do not see anything that SeeCubic has filed in any of the legal proceedings

       that lists Rembrandt-Holding as a party that it intends to compensate despite its often

       stated intention to fully deploy Ultra-D technology.

    101)     The Stream TV with UltraD is an impressive product and quite frankly out

       performs any other currently available 3DASD options in a number of contexts.

       However, a large part of what makes it so impressive is that it includes much of

       technology that I have assigned to Rembrandt-Holding. Rembrandt-Delaware would

       use the Stream TV for a number of our projects. However, it is important to

       understand that as impressive as the Ultra-D technology is, it is not the only option on

       the market and I can and have deployed my technology in other products. Therefore,

       the settlement agreement also provides Stream with a major competitive advantage by

       strongly encouraging Rembrandt-Holding and Rembrandt-Delaware to purchase

       products from Stream rather than using other manufacturers. This increased volume

       lowers Stream’s overall production costs, but also in turn makes it more difficult for

       competitors to Stream to achieve efficient production volume.

    102)     While it is my expectation that Rembrandt-Delaware and Rembrandt-Holding

       will be large customers of Stream, I would expect that the Stream would have many

       other customers such that the $1.2 billion in profit margins saved by Rembrandt-

       Nevis would be matched by many billions in profits from sales by Stream to other

       major customers, whom they have been grooming for years.

    103)     SeeCubic cannot sell any products without walking into the exact same

       litigation that Shad Stastney agreed should be settled for many millions of dollars and
                                                                                                   22
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       there is not much incentive for Rembrandt-Holding to grant any license.

    104)     Before agreeing to settle with Stream, I and others on my team, carefully

       evaluated the products Stream built. To my knowledge, SeeCubic has not made any

       products.

    105)     My personal interest, and the interests of Rembrandt-Holding and Rembrandt-

       Delaware lie in having access to reliable glasses free 3D hardware. I am personally

       largely indifferent to the company that makes that technology so long as the product

       is high quality, meets the customer’s needs, and has licensed my technology fairly.

       Though I was certainly concerned about how my technology was used

       inappropriately, my focus is on bringing 3D TVs to market. not on seeking any form

       of revenge.

    106)     I have been in litigation with the Rajans and Stream for many years, yet the

       resolution contemplated all the way back to the beginning of mediation (and

       eventually reached with Shad Stastney on April 9, 2019) was for us to resolve the

       litigation and work together to bring 3D technology to the marketplace.

    107)     Stream now has a full license to use the Rembrandt-Holding technology,

       SeeCubic does not. After years of litigation, I am happy to be working with Stream

       to bring TVs to market.

    108)     I would be happy to work with SeeCubic if it was able to show that it had a

       viable plan to manufacture a working 3D TV, given that the Philips License is only

       for production and sales, not sub-licensing, it is not clear how SeeCubic will actually

       have a viable business model without manufacturing its own products. It is my

       understanding that they intend to license others to use their technology, but any

       licensee would need an independent license from Philips and Rembrandt-Holding. I
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       do not see how they can possibly submit a credible plan for compensating creditors

       and investors without a license from Rembrandt-Holding yet they have taken no

       action to obtain a license. However, until SeeCubic has such a license, it can fully

       expect that Rembrandt-Holding will seek to fully enforce its rights in the various

       forums seeking injunctions and to have their products held at the border.

    109)     Mr. Stastney clearly knows SeeCubic, and/or its customers and vendors, need a

       license from Rembrandt-Holding to actually make and sell products but has failed to

       disclose that to date or to make any attempt to obtain the needed license from

       Rembrandt-Holding.

    110)     Frankly, the assets SeeCubic is hoping to take are actually highly compromised

       in SeeCubic’s hands because SeeCubic lacks the license from Rembrandt-Holding.

       To my knowledge, SeeCubic is not actually making anything yet, but it appears that

       SeeCubic is attempting to transfer source code and servers that include Rembrandt-

       Holding technology.

    111)     It would be possible to have someone remove all of the Rembrandt-Holding

       know-how and trade secrets from the software to be transferred from Stream to

       SeeCubic. As long as the software and technology transferred removed all

       functionality that included the enumerated intellectual property rights.

    112)     It is important to note that Mr. Stastney agreed that the list of IP rights was

       valid and appropriate to include in the April 9, 2019 term sheet (Exhibit 2) that was

       prepared by DLA Piper attorneys and modifications were written in DLA Piper

       attorney’s hand writing. The document was initialed by all parties and by Magistrate

       Parker.

    113)     Assuming that Mr. Stastney is not taking a different position today than he did
                                                                                                24
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       on April 9, 2019 before all of us in the room, including Magistrate Parker, SeeCubic

       should not object to removing all functionality covered by the Rembrandt-Holding

       technology since he is unwilling to have SeeCubic take a license.

    114)     The Rembrandt-Holding technology is not an asset of Stream and it certainly

       cannot be transferred to SeeCubic without SeeCubic first obtaining a license from

       Rembrandt-Nevis.

    115)     The primary objective of Rembrandt-Holding in the current bankruptcy is to

       prevent further misappropriation of our technology by allowing SeeCubic to gain

       access to the technology of Rembrandt-Holding without a proper license.

    116)     Further, Rembrandt-Holding would obviously like to collect the amounts that it

       is owed under that license to Stream.

    117)     Lastly, Stream was capable of working with vendors to build an excellent TV

       in the past and even if 100% of all assets of Stream are transferred to SeeCubic, the

       team of people at Stream are likely capable of working with the same or similar

       vendors to build a high quality 3D TV. While Ultra-D is nice, Rembrandt-Holding

       owns the technology that was developed many years before Ultra-D and is frankly all

       Rembrandt-Delaware has used in the marketplace for years and our 3D displays

       literally are museum quality.




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     118)       In sum, Stream is a viable business entity and useful to both of my companies

         even without any of the assets SeeCubic purports to now own.



     Pursuant to 28 U.S.C. section 1746, I declare under penalty of perjury of the laws of the

     United States of America that the foregoing is true and correct.




                                             /s/ Stephen Blumenthal
        Dated: June 8, 2021                  _______________________________
                                             Stephen Blumenthal
                                             Manager – Rembrandt 3D Holding Ltd.




 Exhibit List (To Be Filed Separately):

 Exhibit 1      First Amended Complaint and exhibits
 Exhibit 2      April 9, 2019 Term Sheet initialed by Shad Stastney
 Exhibit 3      Mr. Michaels email to Stream’s bankruptcy counsel on April 20, 2021
 Exhibit 4      Mr. Michaels email to the counsel for creditors of Stream on April 20, 2021
 Exhibit 5      Mr. Michaels email to the counsel for SeeCubic on April 20, 2021
 Exhibit 6      Settlement agreement between Stream and Rembrandt-Holding on May 23, 2021
 Exhibit 7      Philips license to 3D Fusion.




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                EXHIBIT 10
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Trade Secret
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Detailed List                       Evidence Supporting Trade Secret
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                                    ĺϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                                    èϡώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώťôŕēôĲώīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώ
                                    ÍīôƄЬ͒îċŪŜĖĺĲϟèĺı
                                 6 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                    >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                    ŪæĤôèťϡώôϡώ>ſîϡώIĲťôīώÍĲîƅώŘĖîČô
                                    "ÍťôϡώbĺŽôıæôŘώ͔͐Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͘ϡ͓͑ώaώ(
                                    ĺϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                                    èϡώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώťôŕēôĲώīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώ
                                    ÍīôƄЬ͒îċŪŜĖĺĲϟèĺı
                                 7 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                    >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                    ŪæĤôèťϡώôϡώ>ſîϡώIĲťôīώÍĲîƅώŘĖîČô
                                    "ÍťôϡώbĺŽôıæôŘώ͔͐Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͘ϡ͓͑ώaώ(
                                    ĺϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                                    èϡώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώťôŕēôĲώīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώ
                                    ÍīôƄЬ͒îċŪŜĖĺĲϟèĺı
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͗ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                    >ŘĺıϡώГÍŘťώÍŘôĲæŘŪČГώѴæÍŘťЬè͒îϱŽŘϟèĺıѳώôĲťϡώēŪŘŜîÍƅϠώôŕťôıæôŘώ͒͏Ϡώ͑͏͐͏ώ͘ϡ͔͑ώaώĺϡώ
                                    ѴŜťôŽôϟæīŪıôĲťēÍīЬ͒">ŪŜĖĺĲϟèĺıѳ
                                    èϡώГ®ÍīťēôŘώĺôīôĲГώѴſÍīťēôŘ϶ŘĺôīôĲЬēĺťıÍĖīϟèĺıѳϢώГIīƅÍώĺŘĺħĖĲГ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͘ώ ѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳϢώГFÍĲŜώ¾ŪĖîôıÍГώѴFÍĲŜ¾ŪĖîôıÍЬŪŕèıÍĖīϟĲīѳώ
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                                  >ŘĺıϡώГÍŘťώÍŘôĲæŘŪČГώѴæÍŘťЬè͒îϱŽŘϟèĺıѳώôĲťϡώēŪŘŜîÍƅϠώôŕťôıæôŘώ͒͏Ϡώ͑͏͐͏ώ͘ϡ͔͑ώaώĺϡώ
                                  ѴŜťôŽôϟæīŪıôĲťēÍīЬ͒">ŪŜĖĺĲϟèĺıѳ
                                  èϡώГ®ÍīťēôŘώĺôīôĲГώѴſÍīťēôŘ϶ŘĺôīôĲЬēĺťıÍĖīϟèĺıѳϢώГIīƅÍώĺŘĺħĖĲГ
                              10 ѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳϢώГFÍĲŜώ¾ŪĖîôıÍГώѴFÍĲŜ¾ŪĖîôıÍЬŪŕèıÍĖīϟĲīѳώ
                                  >ŘĺıϡώГÍŘťώÍŘôĲæŘŪČГώѴæÍŘťЬè͒îϱŽŘϟèĺıѳώôĲťϡώēŪŘŜîÍƅϠώôŕťôıæôŘώ͒͏Ϡώ͑͏͐͏ώ͘ϡ͔͑ώaώĺϡώ
                                  ѴŜťôŽôϟæīŪıôĲťēÍīЬ͒">ŪŜĖĺĲϟèĺıѳ
                                  èϡώГ®ÍīťēôŘώĺôīôĲГώѴſÍīťēôŘ϶ŘĺôīôĲЬēĺťıÍĖīϟèĺıѳϢώГIīƅÍώĺŘĺħĖĲГ
                              11 ѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳϢώГFÍĲŜώ¾ŪĖîôıÍГώѴFÍĲŜ¾ŪĖîôıÍЬŪŕèıÍĖīϟĲīѳώ
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώ@ĺīîώϼċĺŘıôŘīƅώôîϽώĺƄώŜťÍťŪŜ
                                  "ÍťôϡώôŕťôıæôŘώ͕͐Ϡώ͑͏͐͏ώÍťώ͔ϡ͏͒ϡ͓͐ώaώ("
                                  ĺϡώťôŽôώīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                                  èϡώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώIīƅÍώĺŘĺħĖĲώѴĖŜЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                              12 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώĺĲťôĲťώèĺĲŽôŘŜĖĺĲώŕŘĺŕĺŜÍī
                                  "ÍťôϡώôŕťôıæôŘώ͕͐Ϡώ͑͏͐͏ώÍťώ͐ϡ͓͕ϡ͔͕ώaώ("
                                  ĺϡώĖŜЬ͒îċŪŜĖĺĲŪŜÍϟèĺı
                                  èϡώťôŽôώīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώГĺôīôĲϠώ®ÍīťēôŘГώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώ
                                  @ŘÍƏƏƅώѴČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıѳ
                                  ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͐͒ώ
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώĺĲťôĲťώèĺĲŽôŘŜĖĺĲώŕŘĺŕĺŜÍī
                                  "ÍťôϡώôŕťôıæôŘώ͕͐Ϡώ͑͏͐͏ώÍťώ͐ϡ͓͕ϡ͔͕ώaώ("
                                  ĺϡώĖŜЬ͒îċŪŜĖĺĲŪŜÍϟèĺı
                                  èϡώťôŽôώīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώГĺôīôĲϠώ®ÍīťēôŘГώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώ
                                  @ŘÍƏƏƅώѴČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıѳ
                                  ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                              14
                                  ŪæĤôèťϡώôϡώa«
                                  "ÍťôϡώŪČŪŜťώ͑͘Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͏͕ϡ͑͑ώaώ("
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺı
                                  èϡώ@ŘÍƏƏƅώôŜħôŽĖèĖŪťôώѴČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıѳϠώώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳϠώťôŕēôĲώ
                                  īŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıÍèϟèĺıѳϠώώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳ
                              15 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
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                                  ŪæĤôèťϡώôϡώa«
                                  "ÍťôϡώŪČŪŜťώ͑͘Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͏͕ϡ͑͑ώaώ("
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺı
                                  èϡώ@ŘÍƏƏƅώôŜħôŽĖèĖŪťôώѴČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıѳϠώώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳϠώťôŕēôĲώ
                                  īŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıÍèϟèĺıѳϠώώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳ
                              16 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  ŪæĤôèťϡώôϡώa«
                                  "ÍťôϡώŪČŪŜťώ͑͘Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͏͕ϡ͑͑ώaώ("
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺı
                                  èϡώ@ŘÍƏƏƅώôŜħôŽĖèĖŪťôώѴČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıѳϠώώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳϠώťôŕēôĲώ
                                  īŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıÍèϟèĺıѳϠώώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳ
                              17 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  ŪæĤôèťϡώôϡώa«
                                  "ÍťôϡώŪČŪŜťώ͑͘Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͏͕ϡ͑͑ώaώ("
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺı
                                  èϡώ@ŘÍƏƏƅώôŜħôŽĖèĖŪťôώѴČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıѳϠώώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳϠώťôŕēôĲώ
                                  īŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıÍèϟèĺıѳϠώώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͐͗ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  ŪæĤôèťϡώôϡώa«
                                  "ÍťôϡώŪČŪŜťώ͑͘Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͏͕ϡ͑͑ώaώ("
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺı
                                  èϡώ@ŘÍƏƏƅώôŜħôŽĖèĖŪťôώѴČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıѳϠώώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳϠώťôŕēôĲώ
                                  īŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıÍèϟèĺıѳϠώώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͐͘ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώFôƅώČÍĖĲϠώæ
                                  "ÍťôϡώŪČŪŜťώ͗Ϡώ͑͏͐͏ώÍťώ͕ϡ͐͑ϡ͒͗ώaώ("
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺı
                              20 èϡώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώFôƅώČÍĖĲϠώæ
                                  "ÍťôϡώŪČŪŜťώ͗Ϡώ͑͏͐͏ώÍťώ͕ϡ͐͑ϡ͒͗ώaώ("
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺı
                              21 èϡώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώ͒"ώĺĲŽôŘŜĖĺĲ
                                  "ÍťôϡώVŪĲôώ͔͐Ϡώ͑͏͐͏ώÍťώ͔ϡ͑͐ϡ͓͗ώaώ("
                                  ĺϡώťôŕēôĲώīŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıÍèϟèĺıѳ
                                  èϡώťôŽôώīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώϠώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώ
                                  @ŘÍƏƏƅώôŜħôŽĖèĖŪťôώѴČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıѳ
                              22 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
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                                  ŪæĤôèťϡώôϡώ͒"ώĺĲŽôŘŜĖĺĲ
                                  "ÍťôϡώVŪĲôώ͔͐Ϡώ͑͏͐͏ώÍťώ͔ϡ͑͐ϡ͓͗ώaώ("
                                  ĺϡώťôŕēôĲώīŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıÍèϟèĺıѳ
                                  èϡώťôŽôώīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώϠώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώ
                                  @ŘÍƏƏƅώôŜħôŽĖèĖŪťôώѴČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͑͒ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώ͒"ώĺĲŽôŘŜĖĺĲ
                                  "ÍťôϡώVŪĲôώ͔͐Ϡώ͑͏͐͏ώÍťώ͔ϡ͑͐ϡ͓͗ώaώ("
                                  ĺϡώťôŕēôĲώīŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıÍèϟèĺıѳ
                                  èϡώťôŽôώīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώϠώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώ
                                  @ŘÍƏƏƅώôŜħôŽĖèĖŪťôώѴČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıѳ
                              24 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώ͒"ώĺĲŽôŘŜĖĺĲ
                                  "ÍťôϡώVŪĲôώ͔͐Ϡώ͑͏͐͏ώÍťώ͔ϡ͑͐ϡ͓͗ώaώ("
                                  ĺϡώťôŕēôĲώīŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıÍèϟèĺıѳ
                                  èϡώťôŽôώīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώϠώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώ
                                  @ŘÍƏƏƅώôŜħôŽĖèĖŪťôώѴČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıѳ
                              25 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώ͒"ώĺĲŽôŘŜĖĺĲ
                                  "ÍťôϡώVŪĲôώ͔͐Ϡώ͑͏͐͏ώÍťώ͔ϡ͑͐ϡ͓͗ώaώ("
                                  ĺϡώťôŕēôĲώīŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıÍèϟèĺıѳ
                                  èϡώťôŽôώīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώϠώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώ
                                  @ŘÍƏƏƅώôŜħôŽĖèĖŪťôώѴČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıѳ
                              26 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı

                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôîώĺƄώîôıĺ
                                  "ÍťôϡώaÍƅώ͖͐Ϡώ͑͏͐͏ώÍťώ͐͑ϡ͔͐ϡ͔͐ώaώ("
                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıÍèϟèĺıѳ
                                  èϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳϠώώťôŽôώīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώ
                                  ГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıѳϠώώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳ
                              27 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  ŪæĤôèťϡώôϡώŪťĺώîôŕťēώıÍŕŜϠώϦϦϦ
                                  "ÍťôϡώaÍƅώ͔͐Ϡώ͑͏͐͏ώÍťώ͘ϡ͔͐ϡ͕͑ώaώ("
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͑͗ώ ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıÍèϟèĺıѳ
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                                  >ŘĺıϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  ŪæĤôèťϡώôϡώŪťĺώîôŕťēώıÍŕŜϠώϦϦϦ
                                  "ÍťôϡώaÍƅώ͐͏Ϡώ͑͏͐͏ώÍťώ͐͐ϡ͓͐ϡ͒͒ώaώ("
                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıÍèϟèĺıѳ
                                  èϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳϠώ@ŘÍƏƏƅώôŜħôŽĖèĖŪťôώѴČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıѳϠώ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͑͘ώ ſÍīťēôŘЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώ͒îŜώıôîĖÍώŕīÍƅôŘώЭώ"ώŽŜώſĺſŽƄώŕīÍƅôŘ
                                  "ÍťôϡώŕŘĖīώ͖͑Ϡώ͑͏͐͏ώÍťώ͔ϡ͒͘ϡ͑͗ώaώ("
                                  ĺϡώťôŽôώīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώťôŕēôĲώīŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıÍèϟèĺıѳϠώ
                                  ГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıѳ
                                  èϡώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͒͏ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώ͒îŜώıôîĖÍώŕīÍƅôŘώЭώ"ώŽŜώſĺſŽƄώŕīÍƅôŘ
                                  "ÍťôϡώŕŘĖīώ͖͑Ϡώ͑͏͐͏ώÍťώ͔ϡ͒͘ϡ͑͗ώaώ("
                                  ĺϡώťôŽôώīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώťôŕēôĲώīŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıÍèϟèĺıѳϠώ
                                  ГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıѳ
                                  èϡώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͒͐ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώГFÍĲŜώ¾ŪĖîôıÍГώFÍĲŜ¾ŪĖîôıÍЬŪŕèıÍĖīϟĲīώŪæĤôèťϡώôϡώ>ſîϡώ͒">ŪŜĖĺĲ
                                  "ÍťôϡώôŕťôıæôŘώ͒͏Ϡώ͑͏͐͏ώÍťώ͔ϡ͑͘Ϣ͐͑ώaώ("ώĺϡώГÍŘťώÍŘôĲæŘŪČГώѴæÍŘťЬè͒îϱŽŘϟèĺıѳϠ
                                  ѴŜťôŽôϟæīŪıôĲťēÍīЬ͒">ŪŜĖĺĲϟèĺıѳώώϱϱϱϱϱϱϱb"ϱϱϱϱϱϱϱώ>ŘĺıϡώГFÍĲŜώ¾ŪĖîôıÍГώFÍĲŜ¾ŪĖîôıÍЬŪŕèıÍĖīϟĲīώ
                                  ŪæĤôèťϡώôϡώ>ſîϡώ͒">ŪŜĖĺĲ
                                  "ÍťôϡώôŕťôıæôŘώ͒͏Ϡώ͑͏͐͏ώÍťώ͔ϡ͏͏ϡ͔͑ώaώ("ώĺϡώГÍŘťώÍŘôĲæŘŪČГώѴæÍŘťЬè͒îϱŽŘϟèĺıѳϠ
                                  ѴŜťôŽôϟæīŪıôĲťēÍīЬ͒">ŪŜĖĺĲϟèĺıѳ
                                  èϡώГ®ÍīťēôŘώĺôīôĲГώѴſÍīťēôŘ϶ŘĺôīôĲЬēĺťıÍĖīϟèĺıѳϠώГIīƅÍώĺŘĺħĖĲГ
                                  ѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͒͑ώ ôŕīƅϱĺϡώFÍĲŜ¾ŪĖîôıÍЬŪŕèıÍĖīϟĲīώѱ
                                  >ŘĺıϡώГFÍĲŜώ¾ŪĖîôıÍГώFÍĲŜ¾ŪĖîôıÍЬŪŕèıÍĖīϟĲīώŪæĤôèťϡώôϡώ>ſîϡώ͒">ŪŜĖĺĲ
                                  "ÍťôϡώôŕťôıæôŘώ͒͏Ϡώ͑͏͐͏ώÍťώ͔ϡ͏͏ϡ͔͑ώaώ("ώĺϡώГÍŘťώÍŘôĲæŘŪČГώѴæÍŘťЬè͒îϱŽŘϟèĺıѳϠ
                                  ѴŜťôŽôϟæīŪıôĲťēÍīЬ͒">ŪŜĖĺĲϟèĺıѳ
                                  èϡώГ®ÍīťēôŘώĺôīôĲГώѴſÍīťēôŘ϶ŘĺôīôĲЬēĺťıÍĖīϟèĺıѳϠώГIīƅÍώĺŘĺħĖĲГ
                                  ѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͒͒ώ ôŕīƅϱĺϡώFÍĲŜ¾ŪĖîôıÍЬŪŕèıÍĖīϟĲīώѱ
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                                  >ŘĺıϡώѴēÍĲŜƏŪĖîôıÍЬŪŕèıÍĖīϟĲīѳώŪæĤôèťϡώôϡώèŘôôĲώťēŘĺſώîĖŜťÍĲèôϠώI@ώ"ÍťôϡώVŪīƅώ͑͘Ϡώ͑͏͐͏ώÍťώ͒ϡ͖͐ϡ͑͗ώaώ
                                  EDT
                                  ĺϡώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘ϶ŘĺôīôĲЬēĺťıÍĖīϟèĺıѳϠώFÍĲŜώ¾ŪĖîôıÍ
                                  ѴFÍĲŜ¾ŪĖîôıÍЬŪŕèıÍĖīϟĲīѳϠώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıώèϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳϠώ
                                  aĖèħώaèώ"ĺĲÍīî
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͓͒ώ ѴıĖèħϟıèîĺĲÍīîЬťôīċĺŘťϟĲīѳϠώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳώôŕīƅϱĺϡώēÍĲŜƏŪĖîôıÍЬŪŕèıÍĖīϟĲī
                                  ĺŜťώŕŘĺîŪèťĖĺĲώŜôťŪŕώ
                                  ƅώÍŘťώÍŘôĲæŘŪČώЭώťôŕēôĲώīŪıôĲťēÍī
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͔͒ώ ŽôŘŜĖĺĲώ͏ϟ͐ώ͑͏͐͏ϱ͏͓ϱ͖͑
                                  ĺŜťώŕŘĺîŪèťĖĺĲώŜôťŪŕώ
                                  ƅώÍŘťώÍŘôĲæŘŪČώЭώťôŕēôĲώīŪıôĲťēÍī
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͕͒ώ ŽôŘŜĖĺĲώ͏ϟ͐ώ͑͏͐͏ϱ͏͓ϱ͖͑
                                  ĺŜťώŕŘĺîŪèťĖĺĲώŜôťŪŕώ
                                  ƅώÍŘťώÍŘôĲæŘŪČώЭώťôŕēôĲώīŪıôĲťēÍī
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͖͒ώ ŽôŘŜĖĺĲώ͏ϟ͐ώ͑͏͐͏ϱ͏͓ϱ͖͑
                                  ĺŜťώŕŘĺîŪèťĖĺĲώŜôťŪŕώ
                                  ƅώÍŘťώÍŘôĲæŘŪČώЭώťôŕēôĲώīŪıôĲťēÍī
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͒͗ώ ŽôŘŜĖĺĲώ͏ϟ͐ώ͑͏͐͏ϱ͏͓ϱ͖͑
                                  ĺŜťώŕŘĺîŪèťĖĺĲώŜôťŪŕώ
                                  ƅώÍŘťώÍŘôĲæŘŪČώЭώťôŕēôĲώīŪıôĲťēÍī
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͒͘ώ ŽôŘŜĖĺĲώ͏ϟ͐ώ͑͏͐͏ϱ͏͓ϱ͖͑
                                  ĺŜťώŕŘĺîŪèťĖĺĲώŜôťŪŕώ
                                  ƅώÍŘťώÍŘôĲæŘŪČώЭώťôŕēôĲώīŪıôĲťēÍī
                              40 ŽôŘŜĖĺĲώ͏ϟ͐ώ͑͏͐͏ϱ͏͓ϱ͖͑
                                  ĺŜťώŕŘĺîŪèťĖĺĲώŜôťŪŕώ
                                  ƅώÍŘťώÍŘôĲæŘŪČώЭώťôŕēôĲώīŪıôĲťēÍī
                              41 ŽôŘŜĖĺĲώ͏ϟ͐ώ͑͏͐͏ϱ͏͓ϱ͖͑
                                  ĺŜťώŕŘĺîŪèťĖĺĲώŜôťŪŕώ
                                  ƅώÍŘťώÍŘôĲæŘŪČώЭώťôŕēôĲώīŪıôĲťēÍī
                              42 ŽôŘŜĖĺĲώ͏ϟ͐ώ͑͏͐͏ϱ͏͓ϱ͖͑
                                  ĺŜťώŕŘĺîŪèťĖĺĲώŜôťŪŕώ
                                  ƅώÍŘťώÍŘôĲæŘŪČώЭώťôŕēôĲώīŪıôĲťēÍī
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͓͒ώ ŽôŘŜĖĺĲώ͏ϟ͐ώ͑͏͐͏ϱ͏͓ϱ͖͑
                                  ĺŜťώŕŘĺîŪèťĖĺĲώŜôťŪŕώ
                                  ƅώÍŘťώÍŘôĲæŘŪČώЭώťôŕēôĲώīŪıôĲťēÍī
                              44 ŽôŘŜĖĺĲώ͏ϟ͐ώ͑͏͐͏ϱ͏͓ϱ͖͑
                                  ĺŜťώŕŘĺîŪèťĖĺĲώŜôťŪŕώ
                                  ƅώÍŘťώÍŘôĲæŘŪČώЭώťôŕēôĲώīŪıôĲťēÍī
                              45 ŽôŘŜĖĺĲώ͏ϟ͐ώ͑͏͐͏ϱ͏͓ϱ͖͑
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                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώæÍŘťЬè͒îϱŽŘϟèĺıώώ
                                  ŪæĤôèťϡώôϡώa«
                                  "ÍťôϡώŪČŪŜťώ͑͘Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͏͖ώa
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺı
                                  èϡώ@ŘÍƏƏƅώôŜħôŽĖèĖŪťôώČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıϠώIīƅÍώĺŘĺħĖĲώŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıϠώťôŕēôĲώ
                              46 īŪıôĲťēÍīώŜťôŕēôĲ͒îЬıÍèϟèĺıϠώ®ÍīťēôŘώĺôīôĲώſÍīťēôŘЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώæÍŘťЬè͒îϱŽŘϟèĺıώώ
                                  ŪæĤôèťϡώôϡώa«
                                  "ÍťôϡώŪČŪŜťώ͑͘Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͏͖ώa
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺı
                                  èϡώ@ŘÍƏƏƅώôŜħôŽĖèĖŪťôώČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıϠώIīƅÍώĺŘĺħĖĲώŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıϠώťôŕēôĲώ
                              47 īŪıôĲťēÍīώŜťôŕēôĲ͒îЬıÍèϟèĺıϠώ®ÍīťēôŘώĺôīôĲώſÍīťēôŘЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώæÍŘťЬè͒îϱŽŘϟèĺıώώ
                                  ŪæĤôèťϡώôϡώa«
                                  "ÍťôϡώŪČŪŜťώ͑͘Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͏͖ώa
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺı
                                  èϡώ@ŘÍƏƏƅώôŜħôŽĖèĖŪťôώČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıϠώIīƅÍώĺŘĺħĖĲώŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıϠώťôŕēôĲώ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͓͗ώ īŪıôĲťēÍīώŜťôŕēôĲ͒îЬıÍèϟèĺıϠώ®ÍīťēôŘώĺôīôĲώſÍīťēôŘЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώæÍŘťЬè͒îϱŽŘϟèĺıώώ
                                  ŪæĤôèťϡώôϡώa«
                                  "ÍťôϡώŪČŪŜťώ͑͘Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͏͖ώa
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺı
                                  èϡώ@ŘÍƏƏƅώôŜħôŽĖèĖŪťôώČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıϠώIīƅÍώĺŘĺħĖĲώŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıϠώťôŕēôĲώ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͓͘ώ īŪıôĲťēÍīώŜťôŕēôĲ͒îЬıÍèϟèĺıϠώ®ÍīťēôŘώĺôīôĲώſÍīťēôŘЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώæÍŘťЬè͒îϱŽŘϟèĺıώώ
                                  ŪæĤôèťϡώôϡώa«
                                  "ÍťôϡώŪČŪŜťώ͑͘Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͏͖ώa
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺı
                                  èϡώ@ŘÍƏƏƅώôŜħôŽĖèĖŪťôώČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıϠώIīƅÍώĺŘĺħĖĲώŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıϠώťôŕēôĲώ
                              50 īŪıôĲťēÍīώŜťôŕēôĲ͒îЬıÍèϟèĺıϠώ®ÍīťēôŘώĺôīôĲώſÍīťēôŘЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώæÍŘťЬè͒îϱŽŘϟèĺıώώ
                                  ŪæĤôèťϡώôϡώa«
                                  "ÍťôϡώŪČŪŜťώ͑͘Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͏͖ώa
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺı
                                  èϡώ@ŘÍƏƏƅώôŜħôŽĖèĖŪťôώČŘÍƏĖĲÍŜôŜħôŽĖèĖŪťôЬČıÍĖīϟèĺıϠώIīƅÍώĺŘĺħĖĲώŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıϠώťôŕēôĲώ
                              51 īŪıôĲťēÍīώŜťôŕēôĲ͒îЬıÍèϟèĺıϠώ®ÍīťēôŘώĺôīôĲώſÍīťēôŘЬè͒îϱŽŘϟèĺı
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                                  ŪæĤôèťϡώôϡώ͒îċŪŜĖĺĲ
                                  "ÍťôϡώbĺŽôıæôŘώ͐͗Ϡώ͑͏͏͘ώÍťώ͑ϡ͑͒ϡ͐͗ώaώ(
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıôϟèĺıѳ
                                  èϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳϠώώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώŕôťôŘЬè͒îϱŽŘϟèĺıϠώ
                                  ГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıѳ
                              52 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                  "ÍťôϡώVÍĲŪÍŘƅώ͓͑Ϡώ͑͏͐͏ώÍťώ͓ϡ͓͏ϡ͔͔ώaώ(
                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱ
                                  ŽŘϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͔͒ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                  "ÍťôϡώVÍĲŪÍŘƅώ͓͑Ϡώ͑͏͐͏ώÍťώ͓ϡ͓͏ϡ͔͔ώaώ(
                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱ
                                  ŽŘϟèĺıѳ
                              54 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                  "ÍťôϡώVÍĲŪÍŘƅώ͓͑Ϡώ͑͏͐͏ώÍťώ͓ϡ͓͏ϡ͔͔ώaώ(
                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱ
                                  ŽŘϟèĺıѳ
                              55 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                  "ÍťôϡώVÍĲŪÍŘƅώ͓͑Ϡώ͑͏͐͏ώÍťώ͓ϡ͓͏ϡ͔͔ώaώ(
                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱ
                                  ŽŘϟèĺıѳ
                              56 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                  "ÍťôϡώVÍĲŪÍŘƅώ͓͑Ϡώ͑͏͐͏ώÍťώ͓ϡ͓͏ϡ͔͔ώaώ(
                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱ
                                  ŽŘϟèĺıѳ
                              57 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
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                                  ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                  "ÍťôϡώVÍĲŪÍŘƅώ͓͑Ϡώ͑͏͐͏ώÍťώ͓ϡ͓͏ϡ͔͔ώaώ(
                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱ
                                  ŽŘϟèĺıѳ
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                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                  "ÍťôϡώVÍĲŪÍŘƅώ͓͑Ϡώ͑͏͐͏ώÍťώ͓ϡ͓͏ϡ͔͔ώaώ(
                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱ
                                  ŽŘϟèĺıѳ
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                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώ>ſîϡώIĲťôīώÍĲîƅώŘĖîČô
                                  "ÍťôϡώbĺŽôıæôŘώ͔͐Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͘ϡ͓͑ώaώ(
                                  ĺϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                                  èϡώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώťôŕēôĲώīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώ
                                  ÍīôƄЬ͒îċŪŜĖĺĲϟèĺı
                                  ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                              60
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώ͒îċŪŜĖĺĲ
                                  "ÍťôϡώbĺŽôıæôŘώ͐͗Ϡώ͑͏͏͘ώÍťώ͑ϡ͑͒ϡ͐͗ώaώ(
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıôϟèĺıѳ
                                  èϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳϠώώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώŕôťôŘЬè͒îϱŽŘϟèĺıϠώ
                                  ГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıѳ
                              61 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώ͒îċŪŜĖĺĲ
                                  "ÍťôϡώbĺŽôıæôŘώ͐͗Ϡώ͑͏͏͘ώÍťώ͑ϡ͑͒ϡ͐͗ώaώ(
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıôϟèĺıѳ
                                  èϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳϠώώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώŕôťôŘЬè͒îϱŽŘϟèĺıϠώ
                                  ГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıѳ
                              62 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώ͒îċŪŜĖĺĲ
                                  "ÍťôϡώbĺŽôıæôŘώ͐͗Ϡώ͑͏͏͘ώÍťώ͑ϡ͑͒ϡ͐͗ώaώ(
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıôϟèĺıѳ
                                  èϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳϠώώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώŕôťôŘЬè͒îϱŽŘϟèĺıϠώ
                                  ГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıѳ
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                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
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                                  "ÍťôϡώbĺŽôıæôŘώ͐͗Ϡώ͑͏͏͘ώÍťώ͑ϡ͑͒ϡ͐͗ώaώ(
                                  ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŕēôĲ͒îЬıôϟèĺıѳ
                                  èϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳϠώώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώŕôťôŘЬè͒îϱŽŘϟèĺıϠώ
                                  ГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıѳ
                              64 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                              65 bĺώîÍťôώČĖŽôĲώϱώ"ĺèŪıôĲťώώ͔͒>ώ͑"ώťĺώ͒"ώèĺĲťôĲťώèĺĲŽôŘŜĖĺĲώſĺŘħċīĺſ
                              66 bĺώîÍťôώČĖŽôĲώϱώ"ĺèŪıôĲťώώ͔͒>ώ͑"ώťĺώ͒"ώèĺĲťôĲťώèĺĲŽôŘŜĖĺĲώſĺŘħċīĺſ
                              67 bĺώîÍťôώČĖŽôĲώϱώ"ĺèŪıôĲťώώ͔͒>ώ͑"ώťĺώ͒"ώèĺĲťôĲťώèĺĲŽôŘŜĖĺĲώſĺŘħċīĺſ
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                                  >ŘĺıϡώГ®ÍīťēôŘώĺôīôĲώè͒îГώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώ>®ϡώXôƅŜώŘôîæĺƄ
                                  Date: October 22, 2010 at 11:51:26 AM EDT
                                  ĺϡώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                              70 ôŕīƅϱĺϡώſÍīťēôŘЬè͒îϱŽŘϟèĺı

                                  "ÍťôϡώièťĺæôŘώ͓Ϡώ͑͏͐͏ώÍťώ͔ϡ͓͖ϡ͔͐ώaώ(" ĺϡώѴĖīƅÍϟŜĺŘĺħĖĲЬÍèťċĺŘôƄϟèĺıѳϠώГДťôŽôϟīŪıôĲťēÍīДГώ
                              71 ѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲϟèĺıѳϠώГДÍŘťώÍŘôĲæŘŪČДГώѴæÍŘťЬè͒îϱώŽŘϟèĺıѳ ôŕīƅϱĺϡώſÍīťēôŘЬè͒îϱŽŘϟèĺı
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώæÍŘťЬè͒îϱŽŘϟèĺı
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                                  "ÍťôϡώŪČŪŜťώ͑͐Ϡώ͑͏͐͏ώÍťώ͕ϡ͔͘ώa
                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺı
                              72 èϡώIīƅÍώĺŘĺħĖĲώĖīƅÍϟŜĺŘĺħĖĲЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώ@ŘÍƏƏƅώôŜħôŽĖèĖŪťôώѱ
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                              74 ôīôŕēĺĲôώèÍīīώæôťſôôĲώÍŘťώÍŘôĲæŘŪČώÍĲîώťôŽôώīŪıôĲťēÍī
                              75 ôīôŕēĺĲôώèÍīīώæôťſôôĲώÍŘťώÍŘôĲæŘŪČώÍĲîώťôŽôώīŪıôĲťēÍī
                              76 ôīôŕēĺĲôώèÍīīώæôťſôôĲώÍŘťώÍŘôĲæŘŪČώÍĲîώťôŽôώīŪıôĲťēÍī
                              77 ôīôŕēĺĲôώèÍīīώæôťſôôĲώÍŘťώÍŘôĲæŘŪČώÍĲîώťôŽôώīŪıôĲťēÍī
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                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώVĺēĲώôèĺŘÍώϯ͒îċ
                                  "Íťôϡώ>ôæŘŪÍŘƅώ͑Ϡώ͑͏͐͏ώÍťώ͒ϡ͓͑ϡ͖͐ώaώ(
                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
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                                  "Íťôϡώ>ôæŘŪÍŘƅώ͑Ϡώ͑͏͐͏ώÍťώ͒ϡ͓͑ϡ͖͐ώaώ(
                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
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                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
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                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
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                                  "Íťôϡώ>ôæŘŪÍŘƅώ͑Ϡώ͑͏͐͏ώÍťώ͒ϡ͓͑ϡ͖͐ώaώ(
                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
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                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
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                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
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                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώÍĲîĺŘÍϤϤ
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                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
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                                  ŪæĤôèťϡώôϡώÍĲîĺŘÍϤϤ
                                  "ÍťôϡώVÍĲŪÍŘƅώ͒͐Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͕͑ϡ͖͐ώaώ(
                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
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                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
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                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
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                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
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                                  "ÍťôϡώVÍĲŪÍŘƅώ͒͐Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͕͑ϡ͖͐ώaώ(
                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
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                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
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                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώÍĲîĺŘÍϤϤ
                                  "ÍťôϡώVÍĲŪÍŘƅώ͒͐Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͕͑ϡ͖͐ώaώ(
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                                  ŪæĤôèťϡώôϡώÍĲîĺŘÍϤϤ
                                  "ÍťôϡώVÍĲŪÍŘƅώ͒͐Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͕͑ϡ͖͐ώaώ(
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                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώÍĲîĺŘÍϤϤ
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                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώÍĲîĺŘÍϤϤ
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                                  ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
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                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                  ŪæĤôèťϡώôϡώÍĲîĺŘÍϤϤ
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                            100 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺıϠ
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
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                            101 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺıϠ
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
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                            102 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺıϠ
                                  >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
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                            104 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺıϠ
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                                 "ÍťôϡώVÍĲŪÍŘƅώ͒͐Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͕͑ϡ͖͐ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                            106 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺıϠ
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
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                            107 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺıϠ
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                                 ŪæĤôèťϡώôϡώÍĲîĺŘÍϤϤ
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                            110 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺıϠ
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώÍĲîĺŘÍϤϤ
                                 "ÍťôϡώVÍĲŪÍŘƅώ͒͐Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͕͑ϡ͖͐ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                            111 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺıϠ
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώÍĲîĺŘÍϤϤ
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                            112 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺıϠ
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                                 ŪæĤôèťϡώôϡώÍĲîĺŘÍϤϤ
                                 "ÍťôϡώVÍĲŪÍŘƅώ͒͐Ϡώ͑͏͐͏ώÍťώ͐͏ϡ͕͑ϡ͖͐ώaώ(
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                            114 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺıϠ
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
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                                 ĺϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                                 èϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώ
                                 ѴČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıѳ
                            115 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώ(ÍŘīƅώŜĺċťſÍŘô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͘Ϡώ͑͏͐͏ώÍťώ͑ϡ͑͗ϡ͐͗ώaώ(
                                 ĺϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                                 èϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώ
                                 ѴČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıѳ
                            116 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώ(ÍŘīƅώŜĺċťſÍŘô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͘Ϡώ͑͏͐͏ώÍťώ͑ϡ͑͗ϡ͐͗ώaώ(
                                 ĺϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                                 èϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώ
                                 ѴČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıѳ
                            117 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώ(ÍŘīƅώŜĺċťſÍŘô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͘Ϡώ͑͏͐͏ώÍťώ͑ϡ͑͗ϡ͐͗ώaώ(
                                 ĺϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                                 èϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώ
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                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώ(ÍŘīƅώŜĺċťſÍŘô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͘Ϡώ͑͏͐͏ώÍťώ͑ϡ͑͗ϡ͐͗ώaώ(
                                 ĺϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                                 èϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώ
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                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώ(ÍŘīƅώŜĺċťſÍŘô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͘Ϡώ͑͏͐͏ώÍťώ͑ϡ͑͗ϡ͐͗ώaώ(
                                 ĺϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                                 èϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώ
                                 ѴČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıѳ
                            120 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώ(ÍŘīƅώŜĺċťſÍŘô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͗Ϡώ͑͏͐͏ώÍťώ͑ϡ͐͏ϡ͏͓ώaώ(
                                 ĺϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                                 èϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώ
                                 ѴČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıѳ
                            121 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώ(ÍŘīƅώŜĺċťſÍŘô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͗Ϡώ͑͏͐͏ώÍťώ͑ϡ͐͏ϡ͏͓ώaώ(
                                 ĺϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                                 èϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώ
                                 ѴČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıѳ
                            122 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώ(ÍŘīƅώŜĺċťſÍŘô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͗Ϡώ͑͏͐͏ώÍťώ͑ϡ͐͏ϡ͏͓ώaώ(
                                 ĺϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                                 èϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώ
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ώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͐͑͒ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
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                                 ŪæĤôèťϡώôϡώ(ÍŘīƅώŜĺċťſÍŘô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͗Ϡώ͑͏͐͏ώÍťώ͑ϡ͐͏ϡ͏͓ώaώ(
                                 ĺϡώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                                 èϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώ®ÍīťēôŘώĺôīôĲώѴſÍīťēôŘЬè͒îϱŽŘϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώ
                                 ѴČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıѳ
                            124 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώ(ÍŘīƅώŜĺċťſÍŘô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͕͑Ϡώ͑͏͐͏ώÍťώ͔ϡ͕͑ϡ͒͘ώaώ(
                                 ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                            125 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώ(ÍŘīƅώŜĺċťſÍŘô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͕͑Ϡώ͑͏͐͏ώÍťώ͔ϡ͕͑ϡ͒͘ώaώ(
                                 ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                            126 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώ(ÍŘīƅώŜĺċťſÍŘô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͕͑Ϡώ͑͏͐͏ώÍťώ͔ϡ͕͑ϡ͒͘ώaώ(
                                 ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
                            127 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώ(ÍŘīƅώŜĺċťſÍŘô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͕͑Ϡώ͑͏͐͏ώÍťώ͔ϡ͕͑ϡ͒͘ώaώ(
                                 ĺϡώŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıϠώώIīƅÍώĺŘĺħĖĲώѴŜĺŘĺħĖĲϟĖīƅÍЬČıÍĖīϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͐͑͗ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͔͑Ϡώ͑͏͐͏ώÍťώ͑ϡ͒͐ϡ͒͑ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͐͑͘ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͔͑Ϡώ͑͏͐͏ώÍťώ͑ϡ͒͐ϡ͒͑ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
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                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͔͑Ϡώ͑͏͐͏ώÍťώ͑ϡ͒͐ϡ͒͑ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͐͒͐ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͔͑Ϡώ͑͏͐͏ώÍťώ͑ϡ͒͐ϡ͒͑ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͐͒͑ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͔͑Ϡώ͑͏͐͏ώÍťώ͑ϡ͒͐ϡ͒͑ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͐͒͒ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͔͑Ϡώ͑͏͐͏ώÍťώ͑ϡ͒͐ϡ͒͑ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͓͐͒ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͔͑Ϡώ͑͏͐͏ώÍťώ͑ϡ͒͐ϡ͒͑ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
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                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͓͑Ϡώ͑͏͐͏ώÍťώ͓ϡ͔͐ϡ͐͗ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱ
                                 ŽŘϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͕͐͒ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͓͑Ϡώ͑͏͐͏ώÍťώ͓ϡ͔͐ϡ͐͗ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱ
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ώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͖͐͒ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
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                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͓͑Ϡώ͑͏͐͏ώÍťώ͓ϡ͔͐ϡ͐͗ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱ
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                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͓͑Ϡώ͑͏͐͏ώÍťώ͓ϡ͔͐ϡ͐͗ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳϠώώГČŘÍƏĖĲÍЬè͒îϱŽŘϟèĺıГώѴČŘÍƏĖĲÍЬè͒îϱ
                                 ŽŘϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͐͒͘ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͏Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͑ϡ͓͓ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                                 èϡώ@ŘÍƏƏƅώѴČŘÍƏĖĲÍЬťēŘôôèŪæôŜϟèĺıѳ
                            140 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͏Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͑ϡ͓͓ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                                 èϡώ@ŘÍƏƏƅώѴČŘÍƏĖĲÍЬťēŘôôèŪæôŜϟèĺıѳ
                            141 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͏Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͑ϡ͓͓ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                                 èϡώ@ŘÍƏƏƅώѴČŘÍƏĖĲÍЬťēŘôôèŪæôŜϟèĺıѳ
                            142 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͏Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͑ϡ͓͓ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                                 èϡώ@ŘÍƏƏƅώѴČŘÍƏĖĲÍЬťēŘôôèŪæôŜϟèĺıѳ
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                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͏Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͑ϡ͓͓ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                                 èϡώ@ŘÍƏƏƅώѴČŘÍƏĖĲÍЬťēŘôôèŪæôŜϟèĺıѳ
                            144 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͏Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͑ϡ͓͓ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                                 èϡώ@ŘÍƏƏƅώѴČŘÍƏĖĲÍЬťēŘôôèŪæôŜϟèĺıѳ
                            145 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͏Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͑ϡ͓͓ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                                 èϡώ@ŘÍƏƏƅώѴČŘÍƏĖĲÍЬťēŘôôèŪæôŜϟèĺıѳ
                            146 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͏Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͑ϡ͓͓ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                                 èϡώ@ŘÍƏƏƅώѴČŘÍƏĖĲÍЬťēŘôôèŪæôŜϟèĺıѳ
                            147 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͏Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͑ϡ͓͓ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                                 èϡώ@ŘÍƏƏƅώѴČŘÍƏĖĲÍЬťēŘôôèŪæôŜϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͓͐͗ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͏Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͑ϡ͓͓ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                                 èϡώ@ŘÍƏƏƅώѴČŘÍƏĖĲÍЬťēŘôôèŪæôŜϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͓͐͘ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
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                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͏Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͑ϡ͓͓ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                                 èϡώ@ŘÍƏƏƅώѴČŘÍƏĖĲÍЬťēŘôôèŪæôŜϟèĺıѳ
                            150 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͏Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͑ϡ͓͓ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                                 èϡώ@ŘÍƏƏƅώѴČŘÍƏĖĲÍЬťēŘôôèŪæôŜϟèĺıѳ
                            151 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͏Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͑ϡ͓͓ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                                 èϡώ@ŘÍƏƏƅώѴČŘÍƏĖĲÍЬťēŘôôèŪæôŜϟèĺıѳ
                            152 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
                                 "ÍťôϡώVÍĲŪÍŘƅώ͑͏Ϡώ͑͏͐͏ώÍťώ͑ϡ͓͑ϡ͓͓ώaώ(
                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                                 èϡώ@ŘÍƏƏƅώѴČŘÍƏĖĲÍЬťēŘôôèŪæôŜϟèĺıѳ
ώώώώώώώώώώώώώώώώώώώώώώώώώώώώ͔͐͒ώ ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŽÍťÍŘϯώώaĺŘôϯťôŽô
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                                 ĺϡώŜťôŕēôĲώæīŪıôĲťēÍīώѴŜťôŽôϟæīŪıôĲťēÍīЬ͒îċŪŜĖĺĲŪŜÍϟèĺıѳ
                                 èϡώ@ŘÍƏƏƅώѴČŘÍƏĖĲÍЬťēŘôôèŪæôŜϟèĺıѳ
                            154 ôŕīƅϱĺϡώæÍŘťЬè͒îϱŽŘϟèĺı
                                 >ŘĺıϡώÍŘťώÍŘôĲæŘŪČώѴæÍŘťЬè͒îϱŽŘϟèĺıѳ
                                 ŪæĤôèťϡώôϡώŪôŜťĖĺĲŜώϯώ͒"ċŪŜĖĺĲ
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                            155 ĺϡώťôŕēôĲώīŪıôĲťēÍīώѴŜťôŽô͒îЬīĖČēťīĖĲħϟèĺıѳ
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                            156 ĺϡώťôŕēôĲώīŪıôĲťēÍīώѴŜťôŽô͒îЬīĖČēťīĖĲħϟèĺıѳ
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                            157 ĺŪŘèôώϳώÍŘťώÍŘôĲæŘŪČώώ>ôæŘŪÍŘƅώ͐͏Ϡώ͑͏͐͏
          Case 23-10763-amc                Doc 840-26 Filed 12/02/24 Entered 12/02/24 13:09:09                   Desc
                                                 Exhibit 27 Page 350 of 350


Trade Secret
Number From
Detailed List                    Evidence Supporting Trade Secret
                                 ώЊ>(ЋώĺċťſÍŘôώťĺĺīώċĺŘώĺťĺŜèĺŕĖĲČϠώèĺĲŽôŘŜĖĺĲϠώèĺŘŘôèťĖĺĲϠώĺŕťĖıĖƏÍťĖĺĲϟ
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                            172 ĺŪŘèôώϳώÍŘťώÍŘôĲæŘŪČώώ>ôæŘŪÍŘƅώ͐͏Ϡώ͑͏͐͏
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